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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

   DEXON COMPUTER, INC.,                           §
                                                   §
                  Plaintiff                        §
                                                   §       CASE NO. 5:22-CV-00053-RWS-JBB
   v.                                              §
                                                   §
   CISCO SYSTEMS, INC. AND CDW                     §
   CORPORATION,                                    §
                                                   §
                  Defendants.                      §
                                                   §

                                              ORDER

          Before the Court is Defendants’ Objection to the Order Denying Cisco’s Motion to

   Transfer (Docket No. 96), Defendant Cisco’s Objection to the Report and Recommendation

   Denying Cisco’s Motion to Dismiss (Docket No. 119), and Defendant CDW’s Objections to the

   February 7, 2023 Report and Recommendation (Docket No. 120). The objections have been fully

   briefed (Docket Nos. 102, 121, 122), and the Court has heard oral argument regarding them.

   Docket No. 130.

                                          BACKGROUND

          On April 27, 2022, Plaintiff Dexon filed the above-captioned antitrust case in the Eastern

   District of Texas (the “Texas Lawsuit”). Plaintiff alleges Defendant Cisco is a monopolist in

   several worldwide and U.S. markets related to networking equipment and services for the internet

   and locks in customers who require maintenance with Cisco’s SmartNet program to make

   supracompetitive purchases of routers and ethernet switches. See, e.g., Docket No. 1 (Original

   Complaint), ¶¶ 23–49. Plaintiff claims that Cisco employed FUD (fear, uncertainty, and doubt)

   tactics, especially in Texas, to foreclose competitive purchases of any product and maintain
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   supracompetitive pricing for its products. Id., ¶ 67. According to Plaintiff, in carrying out its

   scheme, Cisco conspired with Defendant CDW to sell Cisco equipment in the Relevant

   Networking Markets to maintain its supracompetitive pricing in those Markets and exclude other

   resellers from making sales in the Relevant Networking Equipment Markets to end-user customers

   in violation of federal and state antitrust laws. Id., ¶¶ 56–57.

          Plaintiff asserts the agreement between Cisco and CDW (collectively, “Defendants”)

   reflects an unreasonable restraint of trade and a conspiracy to monopolize that is unlawful under

   Section 1 of the Sherman Act, 15 U.S.C. § 1, and under Section 2 of the Sherman Act, 15 U.S.C.

   § 2. See, e.g., id. at ¶¶ 87–100. Plaintiff also asserts claims under Section 1 of the Sherman Act for

   per se tying in the Relevant Product Markets, under Section 2 of the Sherman Act for unlawful

   monopolization of the Relevant Networking Equipment Markets, and for unlawful attempted

   monopolization of the Relevant Product Markets against Cisco and under the Texas Free

   Enterprise and Antitrust Act against Cisco and CDW. Id., ¶¶ 87–128. Plaintiff seeks injunctive

   relief, damages, and costs in connection with such violations. Id., ¶ 137.

          I.      California Lawsuit

          Almost two years before Plaintiff filed its current case, Cisco filed suit against Dexon in

   the Northern District of California. Cisco Systems, Inc., et al. v. Dexon Computer, Inc., Case No.

   3:20-cv-4926 (N.D. Cal. filed July 22, 2020) [hereinafter “California Lawsuit”]. In the California

   Lawsuit, Cisco’s First Amended Complaint against Dexon was filed on March 19, 2021, asserting

   claims of trademark infringement, trade counterfeiting, false designation of origin, and associated

   state law claims. California Lawsuit, Docket No. 32. Specifically, Cisco alleges Dexon sells

   counterfeit Cisco products (including switches and transceivers) in violation of the Lanham Act

   and California state law. Id.




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          On July 29, 2021, Dexon filed its Amended Answer, Affirmative Defenses, Counterclaims

   and Third Party Claims (“Dexon’s California Counterclaims”). California Lawsuit, Docket No.

   50; see also Texas Lawsuit, Docket No. 21-2. Dexon asserted various antitrust counterclaims

   among other trademark and tort counterclaims. Id. On motion from Cisco, the California Court

   dismissed Dexon’s California Counterclaims, but the court granted Dexon leave to amend. See

   Cisco Sys. Inc. v. Dexon Computer, Inc. (Cisco I), No. 20-cv-04926-CRB, 2021 WL 5848080, at

   *1, *9 (N.D. Cal. Dec. 9, 2021). In its amended pleading, Dexon did not re-assert the dismissed

   antitrust counterclaims. California Lawsuit, Docket No. 92 (“Dexon’s Second Amended

   Counterclaims”); see also Texas Lawsuit, Docket No. 21-4 (same).

          On a further motion from Cisco, the California Court dismissed Dexon’s Second Amended

   Counterclaims. See Cisco Sys., Inc. v. Dexon Computer, Inc. (Cisco II), No. 20-cv-04926-CRB,

   2022 WL 797015, at *1 (N.D. Cal. Mar. 16, 2022). According to the California Court, although

   Dexon provided more detail than it did in its prior complaint, Dexon still failed “to state these

   claims,” and gave Dexon “leave to amend one last time.” Id. at *4, *8.

          On April 6, 2022, Dexon filed its Third Amended Answer, Affirmative Defenses,

   Counterclaims and Third-Party Claims (“Dexon’s Third Amended Counterclaims”). California

   Lawsuit, Docket No. 107. Once again, Dexon chose not to re-plead any antitrust claims. See id.;

   see also Texas Lawsuit, Docket No. 21-6 (same). On April 27, 2022, Cisco moved to dismiss

   Dexon’s Third Amended Counterclaims pursuant to Rule 12(b)(6). See California Lawsuit, Docket

   No. 117; see also Texas Lawsuit, Docket No. 21-7.

          That same day, Dexon filed its Original Complaint in this Court, asserting antitrust causes

   of action. As it did in the California Lawsuit, Dexon brings against Cisco a per se tying claim

   under § 1 of the Sherman Act (Docket No. 1, Count III) and monopolization claims under § 2 of




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   the Sherman Act (Docket No. 1, Counts IV, V). On June 21, 2022, the California Court entered an

   Order granting Cisco’s motion to dismiss the six counterclaims asserted in the Third Amended

   Counterclaims and denying Dexon’s motion for leave to amend. Cisco Sys., Inc. v. Dexon

   Computer, Inc. (Cisco III), No. 20-CV-04926-CRB, 2022 WL 2222962, at *1 (N.D. Cal. June 21,

   2022).

            II.    Cisco’s Motion to Transfer

            On June 23, 2022, Cisco filed its motion to transfer, requesting the case be transferred to

   the Northern District of California pursuant to the first-to-file rule. Docket No. 21. Cisco argues

   most of the antitrust claims that Dexon asserts in this matter are nearly identical to the

   counterclaims that the Northern District of California dismissed in the California Lawsuit almost

   nine months earlier. Id. at 3–4. Cisco further asserts the factual allegations in the present complaint

   are materially the same as the allegations contained in Dexon’s California Counterclaims which

   were later amended without the antitrust allegations. Id. at 4. Cisco contends the two pleadings are

   substantially similar, and “comity and sound administration of justice demand that Dexon’s

   complaint be transferred.” Docket No. 31 at 2. CDW filed a notice of joinder to Cisco’s motion,

   joining in, and adopting as its own, the arguments made in Cisco’s motion to transfer. Docket No.

   27.

            On December 22, 2022, the Magistrate Judge entered an order denying Cisco’s motion to

   transfer. Docket No. 94 [hereinafter “Order”]. After setting forth the law applicable to the first-to-

   file rule (id. at 5–7) and the parties’ assertions (id. at 7–8), the Order stated a “survey of the relevant

   caselaw, as well as the underlying purposes of the first-to-file rule, shows that the first-to-file

   doctrine should not be applied here, where the antitrust claims are not pending in the California




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   suit.” Id. at 8. Defendants have filed an objection (Docket No. 96), and Dexon has filed a response

   to the objection (Docket No. 102).

          III.    Defendants’ Motions to Dismiss

          Cisco filed a motion to dismiss asserting Dexon’s present claims are precluded by true res

   judicata or claim preclusion. See Docket No. 22 at 12–13. Cisco further asserts Dexon’s antitrust

   claims fail on the merits. Specifically, Cisco asserts as follows: (1) Dexon fails to allege an

   actionable conspiracy claim and parallel state law claim (Counts I–II, VI) because Dexon does not

   allege any actionable agreement; (2) Dexon fails to allege an actionable tying claim and parallel

   state law claim (Counts III, VI) because Dexon does not allege any foreclosure; (3) Dexon fails to

   allege an actionable monopolization claim and parallel state law claim (Counts IV–VI) because

   Dexon fails to allege any exclusionary conduct; and (4) Dexon lacks antitrust injury (Counts I–VI).

          CDW filed its own motion to dismiss in which it joins in and adopts as its own the

   arguments and assertions made by Cisco and also focuses on the facts most relevant to Dexon’s

   claims against it. Docket No. 28 at 1, n. 1. Similar to Cisco, in addition to arguing Dexon’s claims

   fail to state a claim upon which relief can be granted, CDW asserts Dexon is precluded from

   re-litigating issues that have already been decided by the California Court. Id. at 2. Instead of

   relying on the doctrine of true res judicata or claim preclusion, CDW relies on the doctrine of

   collateral estoppel or issue preclusion.

          On the merits, CDW contends Dexon’s Sherman Act (and parallel state law) claims against

   CDW (Counts I, II) should be dismissed for the following reasons: (1) Dexon has not plausibly

   alleged an anticompetitive agreement between Cisco and CDW; (2) Dexon fails to allege harm to

   competition; and (3) Dexon fails to allege specific intent by CDW to monopolize. CDW further




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   asserts Dexon fails to establish an antitrust injury. Finally, CDW argues Dexon’s pre-2018 claims

   are time-barred.

           The Magistrate Judge issued a Report and Recommendation, recommending Defendant

   Cisco’s Motion to Dismiss (Docket No. 22) be denied, with the part of the motion seeking

   dismissal under true res judicata being denied without prejudice. Docket No. 107 [hereinafter

   “R&R”] at 81. The R&R further recommended Defendant CDW’s Motion to Dismiss (Docket No.

   28) be denied, with the parts of the motion seeking dismissal for failure to plead with sufficient

   specificity CDW’s specific intent to monopolize and dismissal of Dexon’s pre-2018 claims as

   time-barred being denied without prejudice. Id. As to CDW’s specific intent to monopolize, the

   Magistrate Judge recommended that, if the R&R is adopted, Dexon be ordered to replead with

   specificity its Sherman Act § 2 conspiracy to monopolize claim against CDW, within thirty days

   from the date of entry of any such Order Adopting, specifically addressing the issues raised in the

   R&R regarding CDW’s specific intent to monopolize. Id. at 44. Dexon has not filed objections to

   the R&R. Both Cisco and CDW have filed objections to the R&R. Docket Nos. 119, 120. Dexon

   has filed responses to the Defendants’ objections. Docket Nos. 121, 122.

                                          LEGAL STANDARD

           I.      Standard of Review

           Defendants’ objection to the Magistrate Judge’s Order is governed by Rule 72(a), which

   provides, in pertinent part, that “[t]he district judge . . . must . . . modify or set aside any part of

   the [magistrate judge’s] order that is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a).

           A district court conducts a de novo review of any portion of a magistrate judge’s report and

   recommendation to which any party files an objection. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P.

   72(b)(3); Warren v. Miles, 230 F.3d 688, 694 (5th Cir. 2000). After conducting a de novo review,




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   the district court may accept, reject, or modify, in whole or in part, the findings or

   recommendations of the magistrate judge. See 28 U.S.C. § 636(b)(1)(C); FED. R. CIV. P. 72(b)(3).

           II.     First-to-File Rule

           The first-to-file rule is a discretionary doctrine resting on “principles of comity and sound

   judicial administration.” Encore Wire Corp. v. Copperweld Bimetallics, L.L.C., No. 4:22-CV-

   232-SDJ, 2023 WL 123506, at *4 (E.D. Tex. Jan. 6, 2023) (quoting Cadle Co. v. Whataburger of

   Alice, Inc., 174 F.3d 599, 603 (5th Cir. 1999); Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947,

   950 (5th Cir. 1997)). It has long been recognized that “the principle of comity requires federal

   district courts—courts of coordinate jurisdiction and equal rank—to exercise care to avoid

   interference with each other’s affairs.” Id. (quoting Save Power, 121 F.3d at 950 (quoting W. Gulf

   Maritime Ass’n v. ILA Deep Sea Local 24, 751 F.2d 721, 728 (5th Cir. 1985))). “The concern

   manifestly is to avoid the waste of duplication, to avoid rulings which may trench upon the

   authority of sister courts, and to avoid piecemeal resolution of issues that call for a uniform result.”

   Id. (quoting W. Gulf Maritime Ass’n, 751 F.2d at 729). As applied, the first-to-file rule is “forward-

   looking,” seeking to preserve judicial resources and avoid inconsistent results by ensuring that

   “substantially overlap[ping]” issues are decided in the same federal forum. Id. (quoting Cadle, 174

   F.3d at 603–04).

           Application of the first-to-file rule does not require that the cases at issue be identical or

   that all of the same parties be involved in both actions. Id. (citing Save Power, 121 F.3d at 950–

   51). Instead, to decide whether substantial overlap exists, courts have looked at factors such as

   whether the core issue in each case is the same or if much of the proof adduced would likely be

   identical. Id. (citing Int’l Fid. Ins. Co. v. Sweet Little Mexico Corp., 665 F.3d 671, 678 (5th Cir.

   2011) (citing W. Gulf Maritime Ass’n, 751 F.2d at 729; Mann Mfg., Inc. v. Hortex Inc., 439 F.2d




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   403, 407 (5th Cir. 1971))). When the overlap between claims is less than complete, courts consider

   several additional factors, including the extent of the overlap, the likelihood of conflict, and the

   “comparative advantage and interest of each forum in resolving the dispute.” Id. (citing Sweet

   Little Mexico, 665 F.3d at 678) (internal quotations omitted). These additional factors are applied

   on a “case by case” basis. Id. (internal quotations omitted).

          III.    Res Judicata, Generally

          The preclusive effect of a judgment is defined by claim preclusion and issue preclusion,

   which are collectively referred to as “res judicata.” Taylor v. Sturgell, 553 U.S. 880, 892 (2008).

   “Under res judicata, a final judgment on the merits of an action precludes the parties or their privies

   from relitigating issues that were or could have been raised in that action.” Clyce v. Farley, 836

   Fed. Appx. 262, 267 (5th Cir. 2020). “The rule of res judicata encompasses two separate but linked

   preclusive doctrines: (1) true res judicata or claim preclusion and (2) collateral estoppel or issue

   preclusion.” Students for Fair Admissions, Inc. v. Univ. of Texas at Austin, 37 F.4th 1078, 1087

   (5th Cir. 2022). “True res judicata bars the litigation of claims that either have been litigated or

   should have been raised in an earlier suit, while collateral estoppel precludes relitigation of only

   those issues actually litigated in the original action, whether or not the second suit is based on the

   same cause of action.” Oyekwe v. Rsch. Now Grp., Inc., 542 F. Supp. 3d 496, 505–06 (N.D. Tex.

   2021), appeal dismissed, No. 21-10580, 2021 WL 8776378 (5th Cir. Dec. 28, 2021) (internal

   citations and quotations omitted).

          Res judicata is an affirmative defense principally raised in a party’s responsive pleading.

   Stevens v. St. Tammany Par. Gov’t, 17 F.4th 563, 571 (5th Cir. 2021) (citing Fed. R. Civ. P.

   8(c)(1)) (“In responding to a pleading, a party must affirmatively state any avoidance or affirmative

   defense, including . . . res judicata.”); Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 570




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   n.2 (5th Cir. 2005) (“[G]enerally a res judicata contention cannot be brought in a motion to dismiss;

   it must be pleaded as an affirmative defense.”). “Although courts have considered res judicata and

   related preclusion principles on a motion to dismiss under Rule 12(b)(6), the Fifth Circuit has held

   that generally a res judicata contention cannot be brought in a motion to dismiss.” Parker v.

   Buckley Madole, P.C., No. 4:17-CV-00307-ALM-CAN, 2018 WL 1704079, at *4 (E.D. Tex. Jan.

   11, 2018), report and recommendation adopted, No. 4:17-CV-307, 2018 WL 1625670 (E.D. Tex.

   Apr. 4, 2018) (citing Segatto v. JPMorgan Chase Bank, N.A., No. 4:16-CV-00712-ALM, 2016

   WL 7664306, at *3 (E.D. Tex. Dec. 16, 2016), report and recommendation adopted, No. 4:16-

   CV-712, 2017 WL 67944 (E.D. Tex. Jan. 6, 2017) (Mazzant, J.) (citing Norris v. Hearst Tr., 500

   F.3d 454, 461 n.9 (5th Cir. 2007); Test Masters, 428 F.3d at 570 n.2)). Claim preclusion is

   generally an affirmative defense best resolved at summary judgment or trial. Seven Networks,

   L.L.C. v. Motorola Mobility L.L.C., No. 3:21-CV-01036-N, 2022 WL 426589, at *2 (N.D. Tex.

   Feb. 10, 2022).

          However, the Fifth Circuit has held that “[d]ismissal under Rule 12(b)(6) on res judicata

   grounds is appropriate when the elements of res judicata are apparent on the face of the pleadings.”

   Stevens, 17 F.4th at 571 (quoting Murry v. Gen. Servs. Admin., 553 Fed. Appx. 362, 364 (5th Cir.

   2014) (per curiam) (unpublished) (citing Kansa Reinsurance Co. v. Cong. Mortg. Corp. of Tex.,

   20 F.3d 1362, 1366 (5th Cir. 1994))); see also Kansa, 20 F.3d at 1366 (“[W]hen a successful

   affirmative defense appears on the face of the pleadings, dismissal under Rule 12(b)(6) may be

   appropriate.”). “With respect to a specific affirmative defense such as res judicata, the rule seems

   to be that if the facts are admitted or are not controverted or are conclusively established so that

   nothing further can be developed by a trial of the issue, the matter must be disposed of upon a

   motion to dismiss.” Madison v. Health Care Servs. Corp., No. W-20-CV-00835-ADA-DTG, 2022




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   WL 14225447, at *2 (W.D. Tex. Oct. 24, 2022), report and recommendation adopted, No. 6:20-

   CV-00835-ADA-DTG, 2022 WL 17732718 (W.D. Tex. Dec. 9, 2022) (quoting Larter & Sons,

   Inc. v. Dinkler Hotels Co., 199 F.2d 854, 855 (5th Cir. 1952)).

          IV.     Claim Preclusion (True Res Judicata)

          Claim preclusion, or true res judicata, is a “venerable legal canon” that “insures the finality

   of judgments and thereby conserves judicial resources and protects litigants from multiple

   lawsuits.” Clyce, 836 Fed. Appx. at 267–68. Claim preclusion applies where (1) the parties to both

   actions are identical or are in privity; (2) the first judgment is rendered by a court of competent

   jurisdiction; (3) the first action resulted in a final judgment on the merits; and (4) the same claim

   or cause of action is involved in both suits. Id. at 268.

          The Fifth Circuit uses the transactional test to determine whether two suits involve the

   same claim or cause of action as required by the fourth element above. Warren v. Mortg. Elec.

   Registration Sys., Inc., 616 Fed. Appx. 735, 738 (5th Cir. 2015). This test requires a court to

   consider whether the two cases are based on “the same nucleus of operative facts.” Id. “The nucleus

   of operative facts, rather than the type of relief requested, substantive theories advanced, or types

   of rights asserted, defines the claim.” Id. If both cases are based on the same nucleus of operative

   facts, “the prior judgment’s preclusive effect extends to all rights the original plaintiff had with

   respect to all or any part of the transaction, or series of connected transactions, out of which the

   original action arose.” Id.

          V.      Issue Preclusion (Collateral Estoppel)

          “Issue preclusion or collateral estoppel prevents a party from litigating an issue it

   previously ‘litigated and lost’ in another action” and thus “‘prevent[s] repetitious litigation of what

   is essentially the same dispute,’” in addition to “‘conserving judicial resources, [] maintaining




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   consistency, and [] avoiding oppression or harassment of the adverse party.’” Hacienda Records,

   L.P. v. Ramos, 718 Fed. Appx. 223, 228 (5th Cir. 2018) (per curiam) (internal quotations and

   citations omitted). Collateral estoppel can be used defensively—a plaintiff may be estopped from

   asserting a claim that the plaintiff has previously litigated and lost against another defendant—or

   can be used offensively—a plaintiff seeks to estop a defendant from relitigating issues that the

   defendant previously litigated and lost against another plaintiff. Wellogix, Inc. v. Accenture, L.L.P.,

   788 F. Supp. 2d 523, 532 (S.D. Tex. 2011) (citing Parklane Hosiery Co., Inc. v. Shore, 439 U.S.

   322, 328 (1979)). CDW’s arguments here concern defensive non-mutual collateral estoppel.

          Under Fifth Circuit law, collateral estoppel or issue preclusion requires that: (1) the issue

   in the current litigation is identical to the one in the prior action; (2) the issue was fully and

   vigorously litigated in the prior action; (3) the determination of the issue in the prior action was

   necessary to the judgment in that prior action and (4) there are no special circumstances that would

   render estoppel inappropriate or unfair. Papst Licensing GmbH & Co., KG v. Samsung Elecs. Co.,

   Ltd, 403 F. Supp. 3d 571, 601 (E.D. Tex. 2019) (citing State Farm Mut. Auto. Ins. Co. v.

   LogistiCare Solutions, 751 F.3d 684, 689 (5th Cir. 2014)). Courts do not consider special

   circumstances when “both parties were involved” in the prior suit. ETC Sunoco Holdings, L.L.C.

   v. United States, 36 F.4th 646, 649 (5th Cir. 2022).

          VI.     Rule 12(b)(6) Pleading Standard

          A Rule 12(b)(6) motion allows a party to move for dismissal of an action when the

   complaint fails to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). When

   considering a motion to dismiss under Rule 12(b)(6), the court must accept as true all well-pleaded

   facts in the plaintiff’s complaint and view those facts in the light most favorable to the plaintiff.

   Bowlby v. City of Aberdeen, 681 F.3d 215, 219 (5th Cir. 2012). The court may consider “the




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   complaint, any documents attached to the complaint, and any documents attached to the motion to

   dismiss that are central to the claim and referenced by the complaint.” Lone Star Fund V (U.S.),

   L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). The court must then determine

   whether the complaint states a claim for relief that is plausible on its face.

          ‘“A claim has facial plausibility when the plaintiff pleads factual content that allows the

   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.’”

   Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009)). “But where the well-pleaded facts do not permit the court to infer more than the mere

   possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the pleader

   is entitled to relief.’” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

          In Iqbal, the Supreme Court established a two-step approach for assessing the sufficiency

   of a complaint in the context of a Rule 12(b)(6) motion. First, the court should identify and

   disregard conclusory allegations, for they are “not entitled to the assumption of truth.” Id. at 664.

   Second, the court “consider[s] the factual allegations in [the complaint] to determine if they

   plausibly suggest an entitlement to relief.” Id. “This standard ‘simply calls for enough facts to raise

   a reasonable expectation that discovery will reveal evidence of the necessary claims or elements.’”

   Morgan v. Hubert, 335 Fed. Appx. 466, 470 (5th Cir. 2009) (citation omitted). This evaluation

   will “be a context-specific task that requires the reviewing court to draw on its judicial experience

   and common sense.” Iqbal, 556 U.S. at 679. Thus, “[t]o survive a motion to dismiss, a complaint

   must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

   on its face.”’ Id. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).




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                                              DISCUSSION

          I.      Cisco’s Motion to Transfer

          The Court now reviews for clear error the Magistrate Judge’s Order (Docket No. 94)

   denying the motion to transfer in light of Defendants’ objections (Docket No. 96) to the Order.

          The issue is whether to apply the first-to-file rule here, where there are no antitrust claims

   pending in the California Lawsuit. In the December 22, 2022 Order, the Magistrate Judge pointed

   out that Cisco and Dexon both rely upon Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599

   (5th Cir.1999). Order at 11. Courts have recognized that Cadle stands for the proposition that there

   must be two actions “pending at the same time.” Olaoye v. Wells Fargo Bank NA, No. 3:12-CV-

   4873-M-BH, 2013 WL 5422888, at *1 (N.D. Tex. Sept. 27, 2013) (emphasis in original) (citing

   Akins v. Worley Catastrophe Response, L.L.C., 921 F.Supp.2d 593, 598 (E.D. La. 2013); J2 Global

   Communications, Inc. v. Protus IP Solutions, Inc., 2008 WL 5378010, *3 n. 3 (E.D. Tex. Dec.23,

   2008)). Pointing out that neither party disputes that requirement, the Magistrate Judge stated the

   relevant question is whether the co-pending actions must also have co-pending claims that are

   substantially similar. Order at 11.

          According to Cisco’s reply in support of its motion to transfer, although Dexon’s antitrust

   counterclaims are no longer pending in the California Lawsuit, “Dexon ignores that the case in

   which it filed its antitrust counterclaims is pending—to be sure, its counterclaims have been

   dismissed, but the case continues.” Docket. No. 31 at 1 (emphasis in original). However, according

   to the Magistrate Judge, a “survey of the relevant caselaw, as well as the underlying purposes of

   the first-to-file rule, shows that the first-to-file doctrine should not be applied here, where the

   antitrust claims are not pending in the California suit.” Order at 8.




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           In so finding, the Magistrate Judge found instructive SIMO Holdings, Inc. v. Hong Kong

   uCloudlink Network Tech. Ltd., Case No. 2:20-CV-00003-JRG, 2020 WL 6889173 (E.D. Tex.

   Nov. 24, 2020). In that case, the SIMO plaintiffs filed suit in the Eastern District of Texas, alleging

   misappropriation of trade secrets by the uCloudlink defendants. SIMO Holdings, 2020 WL

   6889173 at *1. Previously, SIMO had filed trade secret counterclaims against Hong Kong

   uCloudlink in a separate action in the Northern District of California. Id. However, the California

   court dismissed those counterclaims with prejudice on September 12, 2019, but the case remained

   pending. SIMO Holdings, Inc. v. Hong Kong uCloudlink Network Tech. Ltd., Case No. 2:20-cv-

   0003 [hereinafter “SIMO Texas Case”], Docket No. 27-1 (E.D. Tex. July 8, 2020). In the Texas

   case, Defendant Hong Kong uCloudlink moved to transfer the plaintiffs’ trade secret claims to

   California under the first-to-file rule and 28 U.S.C. § 1404. SIMO Holdings, 2020 WL 6889173 at

   *4–5.

            The procedural posture here tracks SIMO Holdings. The SIMO Holdings California court

   initially dismissed SIMO’s trade secret claims without prejudice, giving SIMO leave to amend and

   re-plead with more specificity. SIMO Texas Case, Docket No. 27 at 4–5. “SIMO re-pled these

   trade secret claims, focusing on a conspiracy between Wang Bin and uCloudlink. Again, the

   California court dismissed them, this time with prejudice, finding ‘they do not establish a plausible

   allegation of a conspiracy.’” Id. (emphasis in original). Hong Kong uCloudlink argued that

   SIMO’s trade secret claims in the Texas case, to the extent they were not dismissed, should be

   transferred to California under the first-to-file rule. Id. at 9 (“Similarly, there is substantial overlap

   between the trade secret claims brought here and the trade secret claims disposed of by the

   California court. And the California action is indisputably the first-filed action with respect to these

   same trade secret claims.”). Like Dexon, the SIMO plaintiffs opposed transfer of the trade secret




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   claims, asserting the first-to-file rule was inapplicable because the “trade secret counterclaims were

   dismissed in the California Action.” SIMO Texas Case, Docket No. 38 at 1–2 (E.D. Tex. Sept. 9,

   2020). Thus, the plaintiffs argued there were “no overlapping pending claims in California and

   therefore no risk of duplication.” Id. at 2. In its reply, Hong Kong uCloudlink argued, similar to

   Cisco here, that the plaintiffs, not liking the resolution in California, brought the same trade secret

   claims in Texas. SIMO Texas Case, Docket No. 43 at 2 (E.D. Tex. Sept. 16, 2020). According to

   Hong Kong uCloudlink, “SIMO’s forum shopping and attempted re-litigation are the very

   concerns underlying the first-to-file rule.” Id. The Simo Holdings Court addressed the issue,

   holding as follows:

           Hong Kong uCloudlink moved for the transfer of Plaintiffs’ trade secret claims to
           California on the basis that “there is substantial overlap between the trade secret
           claims brought [in the Eastern District of Texas] and the trade secret claims
           disposed of by the California court.” . . . In response, Plaintiffs point out that the
           California Action is no longer pending, and thus the first-to-file rule is inapplicable.
           (Dkt. No. 38 at 1–2). As Hong Kong uCloudlink admits in its Motion to Transfer,
           the trade secret claims were disposed of by the California court. The first-to-file
           rule only applies in instances where there are concurrent, pending proceedings in
           different federal courts, and moreover, the Court responding to the motion has
           discretion to apply the rule. See Colorado River Water Conservation Dist. v. U.S.,
           424 U.S. 800, 817 (1976) (“[T]here are principles ... which govern in situations
           involving the contemporaneous exercise of concurrent jurisdictions ...”) (emphasis
           added); see also Cadle Co., 174 F.3d at 603 (“Under the first-to-file rule, when
           related cases are pending before two federal courts, the court in which the case was
           last filed may refuse to hear it ...”). Accordingly, the Court is not compelled to
           transfer the trade secret claims under the first-to-file rule and does not do so here.

   SIMO Holdings, 2020 WL 6889173, at *4.

           Although the California Lawsuit is still pending, Dexon’s antitrust claims are no longer

   pending in California. Thus, the California Lawsuit does not contain a co-pending legal action that

   is sufficiently similar to the claims contained in the current case to justify invoking the first-to-file

   rule and transferring this suit to California. Like SIMO Holdings, the Magistrate Judge held the

   Court is not compelled to transfer the antitrust claims under the first-to-file rule. Order at 10.



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           In their objections, Defendants assert SIMO Holdings does not support the Order’s

   construction of the first-to-file rule because SIMO Holdings did not substantively rule on the

   precise issue before this Court. See Docket No. 21 at 3. Defendants acknowledge that SIMO

   Holdings held the first-to-file rule was inapplicable in a situation where the counterclaims (but not

   the entire case) had been dismissed in the first-filed action. See id. at 3–4. The Magistrate Judge

   noted that Hong Kong uCloudlink had filed a motion for reconsideration, asserting the court’s

   decision was based on an incorrect premise (SIMO Texas Case, Docket No. 68 at 1 (E.D. Tex. Jan.

   25, 2021) because other claims remained pending in the California case. Order at 10, n. 6. Notably,

   the Magistrate Judge further pointed out that Hong Kong uCloudlink argued in urging

   reconsideration that the overlap between the Texas case and the California case extended beyond

   the trade secret claims and attached examples of the pleadings from the two cases in an attempt to

   demonstrate substantial overlap, including a reference to SIMO’s live answer and counterclaims

   in the California case. Id.

           In their objection, Defendants state the SIMO Holdings Court denied reconsideration

   because the movant’s argument that “the California case remains pending” came too late; thus,

   Defendants assert the SIMO Holdings Court did not rule on the merits. Docket No. 96 at 4.

   However, Defendants do not address the Magistrate Judge’s larger point as raised in the footnote

   and throughout the December 22, 2022 Order. Namely, the proper point of comparison for

   purposes of determining substantial similarity is between the presently pending claims in

   California and Dexon’s antitrust claims. 1 Indeed, nowhere in their objections do Defendants argue




   1
     Although not raised in Defendants’ objections, Cisco also cited Young v. L’Oreal USA, Inc., 526
   F.Supp.3d 700, 706 (N.D. Cal. 2021), and Am. Can! Cars for Kids v. Kars 4 Kids, Inc., No.
   3:15-CV-3648-B, 2016 WL 3688631 (N.D. Tex. July 11, 2016) in support of their motion to
   transfer arguments. But those cases do not address the scenario here. See Order at 11–12.


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   their presently pending claims in California are substantially similar to Dexon’s antitrust claims in

   this case.

           In their objections, Defendants assert, as they did in their prior briefing, that Cadle supports

   their position. Defendants contend Cadle makes clear that when the first-filed case is still pending,

   avoiding inconsistent rulings concerning issues already decided by other courts “is among the

   concerns that the first-to-file rule addresses: as the Fifth Circuit explained, the first-to-file rule

   avoids the possibility of a (future) ruling that either ‘conflict[s] with’ or ‘rehash[es] an issue

   already decided’ by the first-filed court.” Docket No. 96 at 2 (quoting Cadle, 174 F.3d at 604).

   According to Defendants, “Dexon’s antitrust claims overlap with (indeed, are virtually identical

   to) those it brought in the Northern District of California. Accordingly, [Defendants argue] this

   Court will be required to determine the legal sufficiency of antitrust allegations that the California

   court has already dismissed for failure to state a claim.” Id.

           In the December 22, 2022 Order, the Magistrate Judge held as follows:

           Here, there are no risks of inconsistent judgments seeing as the first-filed antitrust
           counterclaims were dismissed without prejudice. Although the California court
           issued a substantive ruling, it also allowed Dexon leave to amend. Dexon’s
           amended counterclaims did not include the antitrust claims that are now alleged in
           this case. Those counterclaims were not part of the operative complaint which was
           eventually dismissed with prejudice in California. Because there are no longer two
           pending antitrust “actions,” there is little risk of duplicative work or unnecessary
           burden on the judiciary in refusing to transfer.

   Order at 12. According to Defendants’ objection, the Magistrate Judge erred in concluding “there

   are no risks of inconsistent judgments” because the first-filed antitrust counterclaims were

   dismissed without prejudice. Order at 12. Specifically, Defendants assert as follows:

           Not only did the California court dismiss Dexon’s antitrust claims (and characterize
           those it filed here as “duplicative”), but it also stated that Dexon’s third-amended
           counterclaims would be its “last.” See Mot. To Transfer, Dkt. 21 at 3–6; Order 4
           n.4. Allowing Dexon to evade these rulings would “trench[] on the authority of [a]
           sister court.” Cadle, 174 F.3d at 606.



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             To the extent the Order relied on the fact that there is no technically preclusive
             judgment in the earlier filed action, as its reference (at 12) to dismissal “without
             prejudice” suggests, that too is incorrect—because Dexon failed to re-assert its
             antitrust counterclaims in three successive amendments, the later dismissal with
             prejudice applies to its antitrust counterclaims as well. See Mot. To Dismiss, Dkt.
             22 at 11–13. More importantly, it is beside the point. Transfer is not limited to
             circumstances where preclusion applies. See, e.g., Cadle, 174 F.3d at 603–04
             (distinguishing preclusion and the first-to-file rule).

             The Order’s statement (at 12) that there is “little risk of duplicative work or
             unnecessary burden” from allowing this case to proceed is also clear error. Cisco
             has already moved to dismiss the same claims twice in different courts; this Court
             will have to address a motion to dismiss hardly different from one that the
             California court already granted; and the parties are engaged in discovery on claims
             the California court has held are legally insufficient. Moreover, Dexon’s illegal
             conduct—the basis for Cisco’s claims in the California court—is a defense to
             Dexon’s antitrust claims. Cisco should not be forced to litigate those intertwined
             questions in two different courts, and Dexon should be barred from changing the
             locus of that controversy.

   Docket No. 96 at 5.

             Defendants’ objection to the December 22, 2022 Order reiterates the same arguments Cisco

   previously made but without addressing the Magistrate Judge’s reasoning indicating the

   first-to-file rule does not fit here. As suggested by the Magistrate Judge, Defendants’ argument

   fails to address that the first-to-file rule is a “forward-looking doctrine” used to “maximize” “the

   values of economy, consistency, and comity.” 2 Cadle, 174 F.3d at 604. And Defendants’ citations




   2
       In a footnote, the Magistrate Judge stated as follows:
              Cisco appears to acknowledge this by reframing the first-to-file rule as a tool to
              prevent this Court from issuing rulings that are inconsistent with the reasoning
              expressed in the dismissal of Dexon’s California Counterclaims with leave to
              amend. Dkt. No. 21 at 11–13. Broadly expanding the first-to-file rule to look
              backward as Cisco urges is not the appropriate solution for that concern. As
              explained at the hearing, this Court will not be a “super appellate court” to the
              California Court. Dkt. No. 62 at 74:6–22.

   Order at 14, n. 8.



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   to Cadle in their objections actually address the Fifth Circuit’s decision declining to add a

   jurisdictional requirement to the first-to-file rule—not any statement that the first-to-file rule

   functions as a backward-looking doctrine. See Docket No. 96 at 2 (citing Cadle, 174 F.3d at 604).

   Moreover, it bears noting that the portion of Cadle that Defendants cite, entitled “The Relationship

   Between the First–To–File Rule and Collateral Estoppel,” distinguishes the forward-looking

   first-to-file rule from the backward-looking doctrine of collateral estoppel. Id. (citing Cadle, 174

   F.3d at 603–04).

          Defendants also fail to address the Magistrate Judge’s determination that the proper

   analysis to determine substantial similarity is to compare (i) Cisco’s currently pending IP claims

   against Dexon in California and (ii) Dexon’s present antitrust claims in this Court. According to

   Dexon’s response to Defendants’ objection, the first-to-file rule does not apply when, as here, “the

   allegedly substantially similar claims are not pending before the first-filed court.” Docket No. 102

   at 1. The Court agrees.

          The Magistrate Judge correctly found that the proper comparison for application of the

   forward-looking first-to-file rule is between Cisco’s presently pending IP claims in California and

   Dexon’s antitrust claims in this Court. See United States v. Texas, No. EP-21-CV-173-KC, 2022

   WL 499861, at *1 (W.D. Tex. Jan. 11, 2022) (“Defendants argue that the issues presented

   substantially overlap with those in Texas v. Biden . . . However, Defendants base that argument on

   the content of the original Complaint in Texas v. Biden . . . As discussed, that Complaint is no

   longer operative, as Texas has filed an Amended Complaint in Texas v. Biden that challenges a

   different set of federal government actions. Because the allegations in the case before the Northern

   District have changed, Defendants’ Motion . . . is DENIED as moot.”); see also Encore Wire Corp.

   v. Copperweld Bimetallics, L.L.C., No. 4:22-CV-232-SDJ, 2023 WL 123506, at *5 (E.D. Tex. Jan.




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   6, 2023) (“Encore’s false advertising declaratory claim pending in this Court (and for that matter,

   Copperweld’s Lanham Act and unfair competition counterclaims) do not substantially overlap

   with the antitrust claims pending in the Alabama action.”); see also L-3 Commc’n Integrated Sys.,

   L.P. v. Lockheed Martin Corp., No. 3:07-CV-0341-B, 2008 WL 89659, at *2 (N.D. Tex. Jan. 8,

   2008).

            This Court has stated the factors relevant to whether substantial overlap exists include

   whether “the core issue” in each case is the same and whether “much of the proof

   adduced . . . would likely be identical.” 3 TravelPass Grp. L.L.C. v. Caesars Ent. Corp., No. 5:18-

   CV-00153-RWS, 2019 WL 4071784, at *5 (E.D. Tex. Aug. 29, 2019) (citing Sweet Little Mexico,

   665 F.3d at 678 (citation omitted in TravelPass) (alterations in original)). “Where the overlap

   between two suits is less than complete, the judgment is made case by case, based on such factors

   as the extent of overlap, the likelihood of conflict, the comparative advantage and the interest of

   each forum in resolving the dispute.” Id. (quoting Stannard v. Nat’l Indoor RV Centers, L.L.C.,

   No. 4:18-CV-00366, 2018 WL 3608560, at *1 (E.D. Tex. July 27, 2018) (quoting Save Power,

   121 F.3d at 951).

            The Magistrate Judge analyzed each of the relevant factors and found that there was no

   substantial overlap. After comparing Cisco’s still-pending claims in California and the Sherman

   Antitrust claims currently alleged by Dexon in this Court, the Magistrate Judge noted as follows:

            In the California Lawsuit, Cisco alleges claims of trademark infringement,
            trademark counterfeiting, false designation of origin, and associated state law


   3
     In TravelPass, although both pending cases contained similar allegations regarding the existence
   of an unlawful agreement between the five hotel companies in violation of antitrust laws, the Court
   agreed with the Magistrate Judge that the cases did not substantially overlap. While the cases were
   related, there are many significant differences (different claimants, claims, allegations, defenses,
   defendants, witnesses and damages) between them. TravelPass Grp. L.L.C. v. Caesars Ent. Corp.,
   No. 5:18-CV-00153-RWS, 2019 WL 4071784, at *5 (E.D. Tex. Aug. 29, 2019).



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          claims, asserting that Dexon allegedly “engaged in schemes to traffic counterfeit
          Cisco products.” Cisco Sys., Inc. v. Dexon Computer, Inc., 541 F. Supp. 3d 1009,
          1013 (N.D. Cal. June 1, 2021). In the current Texas Lawsuit, Dexon alleges five
          claims under the Sherman Antitrust Act and one claim under the Texas Free
          Enterprise and Antitrust Act, including allegations of a conspiracy between Cisco
          and CDW to monopolize and to suppress inter-brand and intra-brand competition
          from entities like Dexon.

   Order at 13. The Magistrate Judge stated the “core issues” in the two forums are not the same, and

   the “proof adduced” will not be identical. Id. at 14 (citing Sweet Little Mexico, 665 F.3d at 678).

   The Magistrate Judge concluded that “Cisco has not shown how any ruling by this Court will affect

   the California Lawsuit, which concerns different issues, much less the risk of piecemeal litigation

   or inconsistent outcomes.” Id. (citing Cadle, 174 F.3d at 604; BNSF Ry. Co. v. OOCL (USA), Inc.,

   667 F. Supp. 2d 703, 709 (N.D. Tex. 2009)).

          In large part, Defendants object to the Magistrate Judge’s interpretation of the first-to-file

   rule but do not expressly object to the Magistrate Judge’s finding of a lack of substantial similarity

   between the claims pending in the instant case and the claims pending in California. See Docket

   No. 96 at 1–4. Defendants otherwise resort to policy arguments. See id. at 4–5. In making those

   policy arguments, Defendants cite only Cadle. See id. at 4–5 (citing no further case law other than

   Cadle, 174 F.3d at 603-04, 606). But instead of citing Cadle for any instructive rule in this instance,

   Defendants cite Cadle to highlight the principles of economy, consistency and comity underlying

   the first-to-file rule and collateral estoppel doctrine (both of which Cadle discusses). See id.

          The Court does not minimize—or ignore—those important policy considerations but

   agrees with the Magistrate Judge that the cases do not substantially overlap, and application of the

   first-to-file rule is inappropriate. Dexon’s antitrust claims pending in this Court do not substantially

   overlap with the claims currently pending in California. And hearing Dexon’s antitrust claims in

   this case does not threaten to undermine the principles of comity and judicial economy underlying




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   the first-to-file rule. See W. Gulf Maritime Ass’n, 751 F.2d at 728 (recognizing that the first-to-file

   rule requires the federal courts “to exercise care to avoid interference with each other’s affairs”).

   Accordingly, Defendants’ Objection (Docket No. 96) to the Magistrate Judge’s Order is

   OVERRULED.

          II.     Defendants’ Motions to Dismiss

          The Court has reviewed the pleadings, motions to dismiss, R&R, objections to the motions

   to dismiss, and relevant briefing. Based on the Court’s review of the unobjected to-portions of the

   R&R, the Court is of the opinion the unobjected-to findings and conclusions of the Magistrate

   Judge’s R&R (including, but not limited to, those related to CDW’s specific intent to monopolize)

   are correct and are hereby ADOPTED as the opinion of the District Court.

          The Court now conducts a de novo review of the objected-to portions of the Magistrate

   Judge’s Report recommending to deny Defendants’ motions to dismiss.

                  A.      Claim Preclusion (True Res Judicata)

          Report and Recommendation. In the R&R, the Magistrate Judge found Cisco’s true res

   judicata arguments are premature at the Rule 12(b)(6) stage; thus, the Magistrate Judge

   recommended the Court deny the part of Cisco’s motion for dismissal on true res judicata grounds

   without prejudice to refiling. R&R at 22–23 (citing Anderson v. Wells Fargo Bank, N.A., 953 F.3d

   311, 314 (5th Cir. 2020); Giddy Holdings, Inc. v. Kim, No. 1:20-CV-434-DAE-ML, 2021 WL

   2773019, at *4 (W.D. Tex. June 7, 2021), report and recommendation adopted as modified, No.

   1:20-CV-434-DAE, 2021 WL 8442028 (W.D. Tex. July 2, 2021); also citing Stonecoat of Texas,

   L.L.C. v. Procal Stone Design, L.L.C., No. 4:17-CV-00303, 2018 WL 324446, at *9 (E.D. Tex.

   Jan. 8, 2018) (finding that “Plaintiffs have a plausible claim and res judicata would be better

   addressed at a later stage in the proceeding”)); see also R&R at 26. According to the Magistrate




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   Judge, even if the Court were to address the applicability of true res judicata at this early stage,

   “the Court would have serious concerns as to whether Cisco, on its current briefing, could show

   the third and fourth elements for true res judicata.” Id. at 23.

          Regarding the third element, requiring final judgment on the merits, the Magistrate Judge

   noted the California Court dismissed Dexon’s initial set of counterclaims (which included its

   California antitrust counterclaims) with leave to amend and that Dexon’s next amended

   counterclaims, which were eventually dismissed with prejudice, did not include any antitrust

   allegations. R&R at 23. The Magistrate Judge was not persuaded the California Court’s dismissal

   was a final adjudication on the merits with preclusive effect. The Magistrate Judge discussed

   Eldridge v. Kohls Dep’t Stores, Inc., No. CIV-20-158-R, 2020 WL 1528233 (W.D. Okla. Mar. 30,

   2020), the case relied upon by Cisco in its motion to dismiss, stating the unique circumstances in

   that case limits its application to the instant case where Dexon added new claims, legal theories,

   and “non-trivial factual allegations” that were not alleged in the California Lawsuit. R&R at 24.

          Regarding the fourth element, whether the same claim or cause of action is involved in

   both suits, the Magistrate Judge listed the new claims and facts alleged in this lawsuit which were

   not alleged in the California Lawsuit and held “Cisco fails to show that the claims here arise out

   of the same nucleus of operative facts as [Dexon’s] initial counterclaims in California.” Id. at 25.

          Cisco’s assertions. In its objections, Cisco states the Court can decide true res judicata 4 at

   the dismissal stage because the R&R took judicial notice of the filings in the California Lawsuit

   (R&R at 15, n.3) and “all of the relevant facts are contained in the record before [the court] and

   are uncontroverted.” Docket No. 119 at 2 (citing R&R Motorsports, L.L.C. v. Textron Specialized



   4
    Cisco often uses the term “claim splitting” in its briefing even though that doctrine is not wholly
   equivalent to claim preclusion. The R&R pointed out that Cisco fundamentally relies on claim
   preclusion (R&R at 21 n. 8), and Cisco did not object to that finding.


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   Vehicles, Inc., 2022 WL 4379515, at *2 (E.D. La. Sept. 22, 2022) (brackets in original) (granting

   12(b)(6) motion on res judicata grounds); also citing McIntyre v. Ben E. Keith Co., 754 Fed. Appx.

   262, 264–65 (5th Cir. 2018) (per curiam) (affirming 12(b)(6) dismissal on res judicata grounds)).

   According to Cisco, Anderson, 958 F.3d at 314–15, wherein the Fifth Circuit affirmed a dismissal

   based on true res judicata, does not support the R&R’s conclusion that “Dexon can prolong this

   case simply by objecting.” Docket No. 119 at 2.

          Substantively, Cisco asserts the California Court’s earlier dismissal of Dexon’s antitrust

   counterclaims with leave to amend satisfies the third element (the finality requirement) for claim

   preclusion. 5 Relying for the first time in its objections on a Third Circuit case, Hoffman v. Nordic

   Nats., Inc., 837 F.3d 272 (3d Cir. 2016), Cisco asserts that the California Court’s decision in

   Cisco I, 2021 WL 5848080, has preclusive effect because Dexon did not re-assert its antitrust

   counterclaims when granted leave to do so. Docket No. 119 at 2.

          Regarding the fourth element, Cisco states Dexon’s complaint in this case arises out of the

   same nucleus of operative facts as the California counterclaims. Id. at 3. According to Cisco,

   although the California counterclaims did not include allegations about the Texas bank, energy



   5
     In its objections, Cisco states the R&R misunderstands “Cisco’s argument for finality of the
   California court’s rulings: those rulings are preclusive not only because Dexon failed to amend its
   antitrust counterclaims when given the chance . . . but also because the California court dismissed
   Dexon’s remaining counterclaims without leave to amend . . .” Docket No. 119 at 1 (emphasis in
   original).

   The R&R did not misunderstand Cisco’s argument. The R&R cited it, providing the following
   summary of Cisco’s finality argument:

          “The California Court eventually dismissed with prejudice Dexon’s amended
          counterclaims. Cisco claims that final dismissal with prejudice meets the finality
          requirement of claim preclusion because Dexon could have, but chose not to,
          replead its initial set of antitrust counterclaims. Dkt. No. 32 at 1–2.”

   R&R at 23.


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   company, or car dealership, “that conduct is of a piece with the conduct that Dexon did allege,

   pre-dates the California court’s ruling, and could have been asserted there.” Id. at 4.

            De novo review. The Court agrees with the R&R that dismissal on claim preclusion

   grounds at this stage would be premature and that the part of the motion seeking dismissal under

   true res judicata should thus be denied without prejudice. Here, Cisco’s argument that Dexon’s

   claims are barred by true res judicata is inappropriate at this early stage of the case. See Madison,

   2022 WL 14225447, at *2. Looking to the pleadings and viewing them in the light most favorable

   to Dexon, a true res judicata defense does not appear “clearly on the face of the pleadings to warrant

   dismissal under 12(b)(6).” See id. The Court finds Dexon has a plausible claim and true res judicata

   would be better addressed at a later stage in the proceeding. See Stonecoat of Texas, L.L.C. v.

   Procal Stone Design, L.L.C., No. 4:17-CV-00303, 2018 WL 324446, at *9 (E.D. Tex. Jan. 8,

   2018).

            Cisco’s claim preclusion defense, as currently raised at this early stage of the proceeding,

   also lacks merit. It is not clear that Cisco I satisfies the finality requirement, even considering the

   reasoning—which Cisco cites for the very first time in its objections—provided by the Third

   Circuit in Hoffman, 837 F.3d at 272. Discussing Hoffman, the Third Circuit recently explained that

   claim preclusion’s requirement of a “judgment on the merits” is “better understood in terms of its

   functional equivalent: whether a dismissal is with prejudice.” Smith v. Kershentsef, 843 Fed. Appx.

   447, 449 (3d Cir. 2021) (quoting Papera v. Pa. Quarried Bluestone Co., 948 F.3d 607, 610 (3d

   Cir. 2020)). Thus, “[a] dismissal with prejudice operates as an adjudication on the merits, so it

   ordinarily precludes future claims.” Id. (quoting Papera, 948 F.3d at 611 (internal quotation marks

   omitted in Smith)). On the other hand, a dismissal without prejudice does not operate as an

   adjudication on the merits and therefore does not have a claim-preclusive effect. Id.




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          In determining whether an order was a final judgment for jurisdictional purposes, the Third

   Circuit in Hoffman held a plaintiff can convert a dismissal “without prejudice” into a final order

   by “declar[ing] his intention to stand on his complaint.” Hoffman v. Nordic Nats., Inc., 837 F.3d

   272, 279 (3d Cir. 2016). However, in Hoffman, the order dismissing without prejudice was self-

   effectuating and automatically converted to a dismissal with prejudice when the appellant did not

   file an amended complaint within the mandated deadline. 6 Smith, 843 Fed. Appx. at 450, n. 4

   (citing Hoffman, 837 F.3d at 279–80); see also id. at 449-50 (citing Weber v. McGrogan, 939 F.3d

   232, 240 (3d Cir. 2019) (noting “a ‘self-effectuating’ order is one that directs a party to take some

   action to cure a defective complaint by a defined date and provides express notice that it will then

   automatically produce a final order of dismissal when the time to amend runs out”)). In Smith, the

   Third Circuit could not read the district court’s dismissal of Smith’s FDCPA claim as having

   ripened into a dismissal with prejudice. Id. at 450.

          In Cisco I, the California Court dismissed Dexon’s antitrust counterclaims with leave to

   amend. Cisco Sys., Inc. v. Dexon Computer, Inc., No. 20-CV-04926-CRB, 2021 WL 5848080, at

   *9 (N.D. Cal. Dec. 9, 2021) (“Dexon may file an amended answer and counterclaims within 30

   days of the date of this order.”). Cisco has not shown any express intent from Dexon (or the

   California Court) that would convert the California Court’s dismissal with leave to amend to some

   final judgment equivalent to a dismissal with prejudice. See Weber, 939 F.3d at 240 (“while it



   6
    The Court further notes both actions at issue in Hoffman had been brought before the same court.
   Hoffman v. Nordic Nats., Inc., 837 F.3d 272, 280 (3d Cir. 2016). The Court has the authority to
   sua sponte dismiss cases on the basis of claim preclusion or res judicata when both claims are
   brought before it. See Boone v. Kurtz, 617 F.2d 435, 436 (5th Cir. 1980) (“Dismissal by the court
   sua sponte on res judicata grounds, however, is permissible in the interest of judicial economy
   where both actions were brought before the same court.”); see also McIntyre v. Ben E. Keith Co.,
   754 Fed. Appx. 262, 264-65 (5th Cir. 2018) (explaining the court’s ability to dismiss a case sua
   sponte on res judicata grounds for purposes of judicial economy). Here, Dexon’s cases have not
   been brought before the same court.


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   provided thirty days’ leave to file an amended complaint, it lacked any language converting the

   dismissal to a final order at the end of the period. And . . . Weber did not submit a clear and

   unequivocal declaration of intent to ‘stand on her complaint’”).

          Cisco has also not established the fourth element essential for claim preclusion at this time.

   Under the “same claim” inquiry, the critical issue is whether the two actions under consideration

   are based on the same nucleus of operative facts. Test Masters, 428 F.3d at 571. “What grouping

   of facts constitutes a ‘transaction’ or a ‘series of transactions’ must be determined pragmatically,

   giving weight to such considerations as whether the facts are related in time, space, origin, or

   motivation, whether they form a convenient trial unit, and whether their treatment as a unit

   conforms to the parties’ expectations or business understanding or usage.” Tillman v. Hammond’s

   Transportation, L.L.C., No. CV 20-1656, 2021 WL 1733995, at *3 (E.D. La. May 3, 2021)

   (quoting Test Masters, 428 F.3d at 571 (citing Petro–Hunt, L.L.C. v. United States, 365 F.3d 385,

   395 (5th Cir. 2004))).

          At the hearing on Defendants’ motions, Dexon’s counsel focused on the new allegations

   regarding the Cisco/CDW conspiracy. See, e.g., Docket No. 62 (Transcript) at 66:20-67:13 (citing

   Docket No. 1, ¶ 61) (new allegations regarding the Cisco/CDW conspiracy); see also id. at 67:14-

   68:4; 72:14-73:24 (citing Docket No. 1, ¶ 3 (new allegations regarding the Texas bank), ¶ 7 (new

   allegations regarding the Texas energy company), ¶ 51 (new allegations regarding the Texas

   automobile dealership), ¶¶ 65-67 (new allegations regarding the Texas school district); ¶¶ 69-77

   (detailed allegations of global and U.S. IP phones); and ¶ 4 (more specific allegations regarding

   limited IP budgets)). Comparing the factual predicate of the antitrust claims asserted here with the

   counterclaims that were at one time pending in California, the Court is not convinced the claims

   arise out of the same transaction or series of transactions. See Students for Fair Admissions, Inc.




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   v. Univ. of Tex. at Austin, 37 F.4th 1078, 1088–89 (5th Cir. 2022) (explaining the transactional test

   applied here focuses on the facts out of which the claims arise). Accordingly, Cisco’s objections

   to the R&R regarding claim preclusion are OVERRULED.

                  B.      Issue Preclusion (Collateral Estoppel)

          Similar to Cisco, in addition to arguing Dexon’s claims fail to state a claim upon which

   relief can be granted, CDW asserts Dexon is precluded from re-litigating issues that have already

   been decided by the California Court. Docket No. 28 at 2. Instead of relying on the doctrine of true

   res judicata or claim preclusion, CDW relies on the doctrine of collateral estoppel or issue

   preclusion.

          Report and Recommendation. In the R&R, the Magistrate Judge noted issue preclusion

   requires that the issues in the two suits be identical. R&R at 28. For an issue to be identical, both

   the facts and the “legal standard used to assess them” must be identical. Id. (citing Hammervold v.

   Blank, 3 F.4th 803, 810–11 (5th Cir. 2021) (quoting Brister v. A.W.I., Inc., 946 F.2d 350, 354 n.1

   (5th Cir. 1991))). The Magistrate Judge held the facts, and the legal standard used to assess the

   facts, are not identical in both the California Lawsuit and this lawsuit. Id. at 29. Therefore, the

   Magistrate Judge recommended the Court deny CDW’s motion to dismiss under collateral estoppel

   or issue preclusion. Id.

          CDW’s assertions. In its objections, CDW asserts the R&R “gives too much weight to

   Dexon’s argument” that a per se tying claim and conspiracy claims are entirely different, as well

   as “Dexon’s conclusory allegations relating to loss of Interbrand competition.” Docket No. 120 at

   8. According to CDW, the legal standards for assessing both harm to competition and antitrust

   injury are identical in tying claims and conspiracy claims, and Dexon already had an opportunity

   to litigate “these two common elements in California.” Id. Additionally, CDW argues, as it did in




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   its motion to dismiss, that the only “new” factual allegations raised in this lawsuit—relating to loss

   of interbrand competition—are “entirely conclusory . . . and should be disregarded . . .” Id.

          De novo review. Dexon’s California Counterclaims addressed tying rather than an

   “inter-corporate conspiracy that gives rise to two new claims against CDW, separate and apart

   from Dexon’s claims against Cisco for tying.” R&R at 26 (quoting Docket No. 37 at 19–20). The

   word “conspiracy” (or any similar derivation) does not appear in Dexon’s California

   counterclaims, “whereas the term appears thirty-six times in the Complaint” in the Texas Lawsuit.

   Id. at 26–27 (quoting Docket No. 37 at 19). Focusing on a “host of new facts about the conspirators,

   their motivations, their agreement and coordinated conduct, and the effects of the conspiracy”

   which have been alleged under new causes of action in this case, Dexon asserts, and the Magistrate

   Judge agreed, that the issues in both cases are not identical. Id.

          The Court, having reviewed de novo the parties’ arguments, the relevant case law, the

   R&R, CDW’s objections, and Dexon’s response to CDW’s objections, finds issue preclusion (or

   collateral estoppel) does not apply. Dexon pleads factual allegations here, not found in the

   California Lawsuit, to allege CDW and Cisco entered into a conspiracy that violated §§ 1 and 2 of

   the Sherman Act. See, e.g., Docket No. 1, ¶¶ 56–58, 60–63, 87–100. As one example, although

   Dexon alleged in California that it lost a sale to a Pennsylvania hospital due to Cisco’s unilateral

   monopolization, the California Court did not consider that the lost sale could have been the result

   of a conspiracy to accomplish that end. R&R at 28. Additionally, the Court is not convinced that

   the issues before the California Court (i.e., Dexon’s allegations that Cisco threatened customers

   that it would terminate their SmartNet service unless they purchased new Cisco equipment; that

   Cisco engaged in “pressure and bullying tactics” to dissuade customers from doing business with

   Dexon; or that Cisco pressured a “value added reseller” (CDW) to stop doing business with Dexon)




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   were fully and vigorously litigated in the California Lawsuit and necessary to the judgment in that

   action. Accordingly, CDW’s objections to the R&R regarding issue preclusion are

   OVERRULED.

                  C.      Rule 12(b)(6) Pleading Standard Regarding Dexon’s Antitrust Claims

                          1)      Dexon’s conspiracy claims against Cisco and CDW under
                                  Sherman Act §§ 1, 2 (Counts I, II)

          To the extent they overlap, the Court addresses Defendants’ objections under this section

   (even if some of the arguments might also apply to Dexon’s other claims against Cisco alone).

          Defendants’ motions, generally. In their motions to dismiss, with regard to Dexon’s

   conspiracy claims asserted against them, Cisco and CDW separately argue as follows: (1) Dexon

   has not plausibly alleged an anticompetitive agreement between Cisco and CDW; (2) Dexon fails

   to allege harm to competition; and (3) Dexon fails to establish an antitrust injury.

          Report and Recommendation, generally. In the R&R, the Magistrate Judge addressed

   the first two arguments in the context of Dexon’s Sherman Act § 1 claim (Count I) and then

   addressed CDW’s separate argument specific to Dexon’s Sherman Act § 2 conspiracy claim

   (Count II), namely whether Dexon fails to allege specific intent by CDW to monopolize. Because

   Cisco asserts Dexon’s failure to allege antitrust injury applies to Counts I–VI (all of which have

   been asserted against Cisco), the Magistrate Judge addressed antitrust injury following the

   Magistrate Judge’s discussion of Counts III, IV, and V against Cisco.

          Regarding Dexon’s conspiracy claims against Cisco and CDW, the Magistrate Judge found

   Dexon sufficiently alleges an agreement between Cisco and CDW and does not involve a “mere

   unilateral change of distributors” as urged by Cisco; thus, the alleged agreement is not per se legal.

   R&R at 33. Although the Magistrate Judge noted the sufficiency of Dexon’s allegations of

   competitive harm is a closer call, on the whole, the Magistrate Judge concluded that Dexon’s


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   allegations, in combination with the specific examples provided in the complaint, are sufficient to

   survive a motion to dismiss (other than Dexon’s allegation that CDW had specific intent to

   monopolize). Id.

          The Magistrate Judge found Dexon fails to plausibly allege specific intent by CDW to

   monopolize for purposes of the Sherman Act § 2 conspiracy to monopolize claim. Id. at 42–44.

   Rather than recommend dismissal of Dexon’s conspiracy to monopolize claim against CDW, the

   Magistrate Judge recommended Dexon be given an opportunity to amend. Accordingly, the

   Magistrate Judge recommended this part of CDW’s motion to dismiss be denied without prejudice

   to refiling and that, if the R&R is adopted, Dexon be ordered to replead with specificity its Sherman

   Act § 2 conspiracy to monopolize claim against CDW, specifically addressing the issues raised in

   the R&R regarding CDW’s specific intent to monopolize. Id. at 44.

          Regarding antitrust injury, the Magistrate Judge found Dexon has sufficiently alleged

   antitrust injury for purposes of antitrust standing and recommended this part of Defendants’

   motions to dismiss be denied. Id. at 77.

          Defendants’ objections, generally. In its objections, CDW identifies the three arguments

   it raised in its motion and argues the R&R erred in not agreeing with those arguments: (1) Dexon’s

   failure to plausibly allege an anticompetitive agreement between Cisco and CDW; (2) Dexon’s

   failure to plausibly allege harm to competition; and (3) Dexon’s failure to allege antitrust injury.

   Docket No. 120 at 4. In both its second and third objections, CDW asserts Dexon’s complaint is

   devoid of factual allegations to explain how the alleged conspiracy harmed competition. Id. at 2–3.

   According to CDW, Dexon relies on conclusory allegations of “loss of interbrand” and

   “intrabrand” competition but does not plausibly explain how interbrand competition was harmed.

   Id. at 2. Specifically, CDW asserts Dexon never alleges it was prevented from selling its secondary




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   Cisco equipment to end-customers; thus, Dexon was not foreclosed from selling Cisco products

   which would result in harm to competition. Id. at 3.

          In its objections, Cisco similarly asserts, as it did in its underlying briefing, that Dexon

   does not allege an anticompetitive agreement between Cisco and CDW. Docket No. 119 at 6–7.

   Additionally, Cisco states the R&R “errs in devising a theory supporting Dexon’s conspiracy claim

   that Dexon neither pleaded nor argued,” namely, that because Dexon pleads Cisco and CDW have

   market power, competitive harm can be inferred. Id. at 6. Finally, Cisco argues Dexon has failed

   to allege antitrust injury. According to Cisco, “Dexon has not alleged any harm to competition

   because the gravamen of its claims is that it was denied sales of Cisco products, not products

   manufactured by Cisco’s competitors.” Id. at 8 (emphasis in original) (further stating “Dexon

   cannot show that its injuries flow from that which makes conspiracy, tying, or monopolization

   unlawful, and it lacks antitrust injury”).

          Applicable law. To establish a violation of § 1 of the Sherman Act, a plaintiff must

   demonstrate that: “(1) [the defendants] engaged in a conspiracy, (2) the conspiracy had the effect

   of restraining trade, and (3) trade was restrained in the relevant market.” Marucci Sports, L.L.C. v.

   Nat’l Collegiate Athletic Ass’n, 751 F.3d 368, 373 (5th Cir. 2014) (citation omitted). To satisfy the

   conspiracy element of a Sherman Act claim, a plaintiff must show “that the defendants engaged in

   concerted action, defined as having ‘a conscious commitment to a common scheme designed to

   achieve an unlawful objective.’” Id. at 373–74 (quoting Golden Bridge Tech., Inc. v. Motorola,

   Inc., 547 F.3d 266, 271 (5th Cir. 2008) (quoting Monsanto Co. v. Spray–Rite Serv. Corp., 465 U.S.

   752, 764, 104 S.Ct. 1464, 79 L.Ed.2d 775 (1984))).

          To establish concerted action, the plaintiff must present “evidence that reasonably tends to

   prove that the [defendants] had a conscious commitment to a common scheme designed to achieve




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   an unlawful objective.” Tunica Web Advert. v. Tunica Casino Operators Ass’n, Inc., 496 F.3d 403,

   409 (5th Cir. 2007) (quoting Monsanto, 465 U.S. at 768). In other words, “[t]here must be evidence

   that tends to exclude the possibility of independent action.” Id. Whether an action violates § 1 of

   the Sherman Act depends on whether it is adjudged an unreasonable restraint. Nw. Wholesale

   Stationers, Inc. v. Pac. Stationery & Printing Co., 472 U.S. 284, 289, 105 S. Ct. 2613, 2616, 86 L.

   Ed. 2d 202 (1985) (emphasis in original).

           Under Sherman Act § 2, a conspiracy to monopolize can be established only by proof of

   (1) the existence of specific intent to monopolize; (2) the existence of a combination or conspiracy

   to achieve that end; (3) overt acts in furtherance of the combination or conspiracy; and (4) an effect

   upon a substantial amount of interstate commerce. N. Mississippi Commc'ns, Inc. v. Jones, 792

   F.2d 1330, 1335 (5th Cir. 1986).

           Antitrust cases are not subject to a heightened pleading standard. Torrey v. Infectious

   Diseases Soc’y of Am., No. 5:17-CV-00190-RWS, 2018 WL 10124894, at *7 (E.D. Tex. Sept. 27,

   2018) (citing Wampler v. Sw. Bell Tel. Co., 597 F.3d 741, 744 (5th Cir. 2010)). At this stage in the

   litigation, plaintiffs need only allege facts that “state a claim to relief that is plausible on its face.”

   Acad. of Allergy & Asthma in Primary Care v. Quest Diagnostics, Inc. (“Quest III”), No.

   5:17-CV-1295-RCL, 2022 WL 980791, at *6 (W.D. Tex. Mar. 31, 2022) (quoting Twombly, 550

   U.S. at 570). “‘[E]nough data must be pleaded so that each element of the alleged antitrust violation

   can be properly identified.’” David B. Turner Builders L.L.C. v. Weyerhaeuser Co., No.

   3:21-CV-309-KHJ-LGI, 2021 WL 5869183, at *2 (S.D. Miss. Dec. 10, 2021).

                                   (a)      Whether Dexon plausibly alleges a competition-harming
                                            agreement between Cisco and CDW

           Defendants’ motions. In its motion, Cisco states Count I (§ 1 of the Sherman Act), Count

   II (§ 2 of the Sherman Act), and Count VI (Texas Free Enterprise and Antitrust Act) each depend


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   on allegations that Cisco entered into an unlawful agreement with CDW. Cisco argues Dexon’s

   claim that “Cisco and CDW conspired to exclude Dexon” from the Relevant Networking

   Equipment Market fails because Dexon has not plausibly alleged any competition-harming

   agreement between Cisco and CDW. Docket No. 22 at 13–14. Specifically, Cisco asserts Dexon

   has not properly alleged any unlawful agreement to replace Dexon with CDW as a seller of Cisco

   products. Id. at 14. CDW similarly argues Dexon fails to plausibly allege any direct evidence of

   an anticompetitive agreement between Cisco and CDW. Docket No. 28 at 13. Whether considered

   individually or as a whole, CDW argues “Dexon’s allegations are more consistent with CDW’s

   independent actions and its individual interest than with a conspiracy.” Id.

          Report and Recommendation. The Magistrate Judge considered whether Dexon

   plausibly alleges an agreement between Cisco and CDW, and separately, whether Dexon’s

   allegations plausibly raise the suggestion of an unlawful agreement. Specifically, the Magistrate

   Judge found Dexon sufficiently alleges “the who, what, when, where, when, and why to show the

   existence of an agreement between CDW and Cisco,” and the complaint does not allege a “mere

   unilateral change of distributors” or that the alleged conspiracy falls exclusively within Cisco’s

   “right to control its distribution network;” thus, the alleged agreement is not per se legal. R&R at

   33, 35, 38.

          The Magistrate Judge further considered whether Dexon plausibly alleges competitive

   harm and concluded the allegations regarding CDW, combined with the allegations regarding

   Cisco as a monopolist, allow the Court to draw the reasonable inference that the Cisco-CDW

   agreement is capable of causing substantial harm to competition. Id. at 42. After distinguishing the

   allegations in this case from those involved in Burdett Sound, Inc. v. Altec Corp., 515 F.2d 1245




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   (5th Cir. 1975), and other dealer termination/substitution cases, the Magistrate Judge stated as

   follows:

          Further, case law supports the view that a monopolist manufacturer who conspires
          with a large distributor to exclude a lower-priced distributor can survive a motion
          to dismiss. See Graphic Prods. Distribs. v. ITEK Corp., 717 F.2d 1560, 1572 n. 20
          (11th Cir. 1983) (“A seller with considerable market power in the interbrand
          market—whether stemming from its dominant position in the market structure or
          from the successful differentiation of its products—will necessarily have some
          power over price. In that situation, intrabrand competition will be a significant
          source of consumer welfare because it alone can exert downward pressure on the
          retail price at which the good is sold.”). The court in Graphic Prods. explained that
          “in situations of manufacturer market power, intrabrand restrictions on distributor
          competition can have a substantial adverse effect on consumer welfare by
          eliminating an important source of competitive pressure on price” and in that
          scenario, vertical restraints “may enable a manufacturer to retain monopoly profits
          arising from an Interbrand competitive advantage.” Id. Dexon alleges this precise
          scenario: a Cisco-CDW conspiracy enabling Cisco to maintain its monopoly
          profits. The Third Circuit Court of Appeals similarly found a well-pled conspiracy
          alleging a dominant insurer conspired with a dominant hospital to exclude a smaller
          rival due to allegations of increased prices and decreased competition for the
          co-conspirators’ services. West Penn Allegheny Health Sys., Inc. v. UPMC, 627
          F.3d 85, 100 (3d Cir. 2010).

   R&R at 37–38. According to the Magistrate Judge, Dexon’s allegations of interbrand harm and

   intrabrand harm (which were not pleaded with this level of specificity in the California Lawsuit)

   explain how the alleged conspiracy harms competition and mirrors the allegations contained in

   Graphic Prods. and West Penn. Id. at 39.

          The Magistrate Judge also found instructive In re Pool Prods. Distribution Mkt. Antitrust

   Litig., 940 F. Supp. 2d 367 (E.D. La. 2013), wherein the court found the plaintiffs’ allegations

   sufficient to state a plausible Sherman Act § 1 claim against PoolCorp, the country’s largest

   distributor of Pool Products, and the Manufacturer Defendants, the three largest manufacturers of

   Pool Products in the country, even though the complaint did not allege that PoolCorp possessed

   any specific share of the Pool Products Distribution Market. Id. at 40–41 (citing In re Pool Prods.,

   940 F. Supp. 2d at 373, 383, 399). The court held the allegations that the Manufacturer Defendants



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   had “substantial market clout” combined with the “market power” of the distributor “allow[ed] the

   Court to draw the reasonable inference” that the conspiracy was “capable of causing substantial

   harm to competition.” Id. at 41 (citing In re Pool Prods., 940 F. Supp. 2d at 398). The Magistrate

   Judge also noted the court in In re Pool Prods. pointed out the Fifth Circuit has stated that the

   reason for looking at market power is to determine “whether the combination or conspiracy, not

   each individual conspirator, has the power to hurt competition in the relevant market.” Id. (quoting

   In re Pool Prods., 940 F. Supp. 2d at 398 (citing Spectators’ Commc’n Network Inc. v. Colonial

   Country Club, 253 F.3d 215, 225 (5th Cir. 2001)); also citing FTC v. Indiana Fed’n of Dentists,

   476 U.S. 447, 460–61, 106 S.Ct. 2009, 90 L.Ed.2d 445 (1986) (“[T]he purpose of the inquiries

   into market definition and market power is to determine whether an arrangement has the potential

   for genuine adverse effects on competition. . . .”) (emphasis added in In re Pool Prods.))).

          The Magistrate Judge stated Dexon has alleged facts sufficient to create a reasonable

   inference of Cisco’s market power in the relevant markets. R&R at 41 (citing Docket No. 1, ¶¶ 1

   (“Cisco is a monopolist . . .”); 24 (“On information and belief, Cisco has a stranglehold on the

   supply of networking products in the United States, with a dominant market share that has reached

   70% or more, including in routers and Ethernet switches, both markets with high barriers to

   entry . . . Cisco is also dominant in the Worldwide and United States markets for IP phones, with

   market shares that have exceed 40% or more with its closest competitors half its size, in markets

   with high barriers to entry.”); 29 (“Upon information and belief, Cisco consistently possessed a

   share of the Relevant Service Market in excess of 90% . . .”)). The Magistrate Judge further stated

   Dexon has pleaded factual content that allows the Court to draw the reasonable inference that

   CDW has “substantial clout in the industry.” Id. at 41–42 (citing In re Pool Prods., 940 F. Supp.

   2d at 398; also citing Docket No. 1, ¶ 56 (alleging CDW’s 2020 annual revenue was $18.47 billion




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   compared to Cisco’s $49.8 billion in the same time period); also citing Universal Hosp. Servs.,

   Inc. v. Hill-Rom Holdings, Inc., No. CIV.A. SA-15-CA-32, 2015 WL 6994438, at *11 (W.D. Tex.

   Oct. 15, 2015) (“At the motion to dismiss stage, with discovery still to be completed, the plaintiff

   does not have to allege an exact, percentage-based market share.” (quoting Scooter Store, Inc. v.

   Spinlife.Com., 777 F.Supp.2d 1102, 1117 (S.D. Ohio 2011)))). Considering the allegations

   regarding CDW, combined with Dexon’s allegations regarding Cisco as a monopolist, the

   Magistrate Judge concluded the complaint allows the Court to draw the reasonable inference that

   the Cisco-CDW agreement is capable of causing substantial harm to competition. Id. at 42.

          Defendants’ objections. In their objections, Defendants take issue with these findings.

   Among other things, both Cisco and CDW argue CDW’s decision not to sell Cisco equipment to

   its direct competitor does not raise the suggestion of an unlawful agreement between Cisco and

   CDW. Docket No. 119 at 6 (stating CDW had every incentive to compete with Dexon for sales

   and CDW’s alleged sale of Cisco products to a Pennsylvania hospital could have been independent

   action); Docket No. 120 at 5 (stating Cisco has the absolute right to control its distribution network,

   including to sell through one reseller (here, CDW) over another (Dexon)). According to Cisco and

   CDW, any agreement would be per se legal under Burdett Sound, 515 F.2d 1245 and Doctor’s

   Hosp. of Jefferson, Inc. v. Se. Med. All., Inc., 123 F.3d 301 (5th Cir. 1997) [hereinafter Doctor’s

   Hospital]. Docket No. 119 at 7; Docket No. 120 at 5. Consideration of these arguments dovetails

   into the related issue of whether Dexon has plausibly alleged harm to competition. Thus, the Court

   considers the issues together.

          De novo review. As an initial matter, the Court agrees with the Magistrate Judge that

   Dexon sufficiently shows the existence of an agreement between Cisco and CDW as distinct from

   independent action. Dexon alleges Cisco conspired with one of its favored distributors, CDW, “to




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   help it exclude resellers like Dexon and maintain its network equipment monopolies.” Docket No.

   1, ¶ 13. The complaint provides a specific example of an alleged conspiracy involving a

   Pennsylvania hospital system. Id., ¶¶ 58–63. There are two aspects to Dexon’s conspiracy

   allegations.

          First, Dexon alleges Cisco and CDW coordinated their communications and actions for the

   Pennsylvania hospital system, which awarded a contract to Dexon to purchase Ethernet switches

   and routers. Id., ¶ 59. According to the complaint, when Cisco learned that the hospital system

   awarded the order to Dexon, it threatened the customer that it would “not honor the contemplated

   new SmartNet service package, [and] also would cancel immediately all SmartNet service

   packages which the customer had in place for the entire hospital system and clinics.” Id. “Upon

   information and belief, Cisco agreed with CDW that after the hospital cancelled the equipment

   order with Dexon, CDW would instead secure those sales and assure the customer that SmartNet

   service would be provided for all of its Cisco equipment.” Id., ¶ 60. Dexon alleges the “sales

   representatives of Cisco and CDW took coordinated steps to execute this plan, and it was agreed

   that Cisco would portray CDW as the ‘savior’ to the hospital system in that the customer would

   keep its service for all of its Networking Equipment.” Id. Dexon alleges “Defendants’ plan was

   successful, and the hospital instead bought the Networking Equipment from CDW at a higher price

   than had been negotiated with Dexon.” Id.

          Second, Dexon alleges that as part of the conspiracy, CDW agreed not to sell Networking

   Equipment to Dexon. Id., ¶ 62. Specifically, Dexon alleges that as part of the conspiracy, which

   continues through the present day, “Cisco demanded that CDW stop selling Networking

   Equipment and associated services to Dexon (which had previously been to both parties’ benefit),

   and CDW agreed.” Id. According to Dexon, “when the CDW representative previously assigned




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   to Dexon refused to comply with” Cisco’s demand that CDW stop selling Networking Equipment

   and associated services to Dexon, “CDW assigned the representative to a different region and

   account so that Cisco would not fear that CDW had withdrawn from the conspiracy.” Id. According

   to Dexon, pursuant to the conspiracy, “no CDW sales representative has fulfilled a Cisco order

   from Dexon since March 2021.” Id. Dexon alleges Cisco recruited CDW into the conspiracy

   because it favors Cisco products over those of Cisco’s competitors; when one completes a search

   on CDW’s website for ethernet switches, it pulls up 1,440 selections for Cisco with no other

   ethernet switch competitor with more than 250 selections. Id., ¶ 61.

          Contrary to CDW’s suggestion otherwise, the Court finds Dexon’s complaint states facts

   that raise a suggestion of a preceding agreement, not merely parallel conduct that could just as well

   be independent action. See Docket No. 120 at 4 (citing Twombly, 550 U.S. at 557). As pointed out

   by the Magistrate Judge, the Fifth Circuit recently decided BRFHH Shreveport, L.L.C. v. Willis-

   Knighton Med. Ctr., 49 F.4th 520 (5th Cir. 2022), a case which supports Dexon. R&R at 36, n. 12.

          In that case, the Fifth Circuit reiterated that tacit agreements are still agreements. BRFHH,

   49 F.4th at 526 (citing Twombly, 550 U.S. at 553 (“[T]he crucial question is whether the challenged

   anticompetitive conduct stems from independent decision or from an agreement, tacit or express.”

   (emphasis added and quotation omitted in BRFHH))). According to the Fifth Circuit, threat and

   accession is one way to form a tacit agreement. Id. (discussing Monsanto, 465 U.S. at 765, wherein

   the Supreme Court held that evidence of A’s threat to B, coupled with B’s subsequent buckling to

   the pressure, could constitute “substantial direct evidence” of an agreement for § 1 purposes.). The

   Fifth Circuit had elaborated on a threat-and-accession theory, id. (citing Spectators’ Commc’n

   Network Inc. v. Colonial Country Club, 253 F.3d 215, 220–22 (5th Cir. 2001); Abraham &

   Veneklasen Joint Venture v. Am. Quarter Horse Ass’n, 776 F.3d 321, 331–33 (5th Cir. 2015);




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   Viazis v. Am. Ass’n of Orthodontists, 314 F.3d 758, 763–64 (5th Cir. 2002); MM Steel, L.P. v. JSW

   Steel (USA) Inc., 806 F.3d 835, 844–45 (5th Cir. 2015)), making it clear that a threat itself is not

   enough. Rather, A’s threat can give rise to an agreement with B only if B actually gives in and

   does what A wants—and only if B gives in because of A’s threat. Id. (citing Viazis, 314 F.3d at

   764).

           In BRFHH, the Fifth Circuit, addressing a threat-and-accession case for the first time at the

   Rule 12(b)(6) stage, stated as follows:

           A plaintiff proceeding on a threat-and-accession theory must plausibly allege three
           things: first, that A made a threat; second, that B subsequently did what A wanted;
           and third, that B did so because of A’s threat. That third requirement is often the
           hardest to satisfy. It’s not enough to allege that B’s behavior was “merely consistent
           with” caving to the threat. See Twombly, 550 U.S. at 557, 127 S.Ct. 1955. The
           plaintiff must do more, providing “allegations plausibly suggesting” that B acted in
           response to the threat rather than out of its own self-interest. See ibid.; Viazis, 314
           F.3d at 764 (affirming a district court’s grant of judgment as a matter of law on the
           ground that the plaintiff hadn’t shown the defendant acted “in response to [the
           relevant] threats” rather than “based on an independent evaluation of its best
           interests” after “ignor[ing] the threats”); Abraham & Veneklasen, 776 F.3d at 333
           (similar).

   Id.

           In its complaint, Dexon plausibly alleges Cisco threatened CDW to stop selling

   Networking Equipment and associated services to Dexon and that CDW subsequently did what

   Cisco demanded it do. It is not enough to allege that CDW’s behavior was “merely consistent

   with” caving to the threat. BRFHH, 49 F.4th at 526 (citing Twombly, 550 U.S. at 557). Rather,

   Dexon must provide “allegations plausibly suggesting” that CDW acted in response to the threat

   rather than out of its own self-interest. 7 Id. (citations omitted).




   7
     In its motion, CDW points out that Dexon and CDW are competitors and argues it has “clear
   unilateral incentives not to supply its rivals.” Docket No. 28 at 14. CDW further contends the fact
   that it displays Cisco’s products prominently on its website demonstrates CDW’s efforts to


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          At this stage of the litigation, the Court finds Dexon has provided allegations plausibly

   suggesting that CDW acted in response to Cisco’s alleged demand. Dexon alleges CDW removed

   the CDW representative previously assigned to Dexon to a different region and account when the

   representative “refused to comply with . . . Cisco’s demand.” Docket No. 1, ¶ 62. According to

   Dexon, CDW did this “so that Cisco would not fear that CDW had withdrawn from the

   conspiracy.” Id. As further factual support for CDW’s behavior, Dexon alleges “no CDW sales

   representative has fulfilled a Cisco order from Dexon since March 2021.” Id.

          Even without a threat-and-accession theory, the Court finds, similar to the Magistrate

   Judge, that Dexon has sufficiently alleged the co-conspirators, the conspirators’ respective

   motivations and intent, the sequencing of their coordinated conduct, the impact of that conduct,

   and how, most recently, “CDW doubled down on the conspiracy by taking its representative off

   of the Dexon account because of his failure to adhere to the conspiracy (an action that is also

   against CDW’s self-interest).” R&R at 35–36 (quoting Docket No. 34 at 4–5 (citing Docket No.

   1, ¶¶ 56–63, 87–100)). Accepting as true all well-pleaded facts in the complaint and viewing those

   facts as a whole in the light most favorable to Dexon, the Court finds Dexon has plausibly alleged

   an agreement between Cisco and CDW.

          That brings the Court to the next issue: whether Dexon has alleged a competition-harming

   agreement between Cisco and CDW. According to Defendants, any alleged agreement between

   Cisco and CDW is not anticompetitive because Cisco as manufacturer has the absolute right to

   control its distribution network, including to sell through one reseller (here, CDW) over another

   (Dexon). Docket No. 120 at 5. In its motion to dismiss, Cisco asserts any alleged agreement



   compete with rival distributors like Dexon and does not suggest an anticompetitive agreement with
   Cisco “to do anything, much less restrain trade.” Id. at 15.


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   between Cisco and CDW that CDW would not sell Cisco equipment to Dexon would be per se

   lawful under Fifth Circuit law. Docket No. 22 at 16 (citing Burdett Sound, 515 F.2d at 1245; also

   citing Doctor’s Hospital, 123 F.3d at 301). According to Cisco, it does not violate antitrust law for

   Cisco to encourage end-users to purchase Cisco equipment from one reseller rather than another.

   Cisco contends that in either event, the customer is purchasing Cisco equipment; thus, the alleged

   conduct does not affect the market opportunities of other equipment manufacturers (the

   competitors in the markets that Dexon alleges). Id. at 15.

          As noted in the R&R, Burdett Sound states that “it is simply not an antitrust violation for a

   manufacturer to contract with a new distributor, and as a consequence, to terminate his relationship

   with a former distributor, even if the effect of the new contract is to seriously damage the former

   distributor’s business.” R&R at 36 (citing Burdett Sound, 515 F.2d at 1249). As explained by the

   Fifth Circuit in that case, it is settled law that a manufacturer has the right to select its customers

   and to refuse to sell its goods to anyone for reasons sufficient to itself. Id. (citing Burdett Sound,

   515 F.2d at 1248 (citations omitted in R&R)). The Magistrate Judge explained Dexon does not

   present claims based on a “mere unilateral change of distributors,” i.e., a claim that Dexon was

   excluded from Cisco’s distribution and nothing more. Id. at 37 (citing Burdett Sound, 515 F.2d at

   1248). Instead, according to the Magistrate Judge, Dexon alleges a monopolist (Cisco) is

   conspiring with a large distributor (CDW) to coerce customers away from Dexon (which provides

   price and quality competition to other Cisco resellers and allows for Cisco’s competitors to

   penetrate the relevant markets). Id.

          In its objections, CDW states this is “a dealer termination case” “exactly” like Burdett

   Sound. Docket No. 120 at 5 (“Dexon alleges it was prevented from effectively reselling Cisco

   equipment by Cisco (the manufacturer) and replaced with CDW (the new reseller).”). According




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   to CDW, under Burdett Sound, “any loss of intrabrand competition—i.e., the loss of Dexon as a

   Cisco reseller—is immaterial because the purpose of the antitrust laws is to promote interbrand

   competition.” Id. (emphasis in original). CDW argues this is true “even when the new dealer and

   the manufacturer agree before the termination of the old dealer.” Id. (quoting Doctor’s Hospital,

   123 F.3d at 307).

          Based on Burdett Sound and Doctor’s Hospital, Defendants ask the Court to find any

   agreement between Cisco and CDW would be per se legal because this case is nothing more than

   a dealer termination/substitution case. Not only are Defendants incorrect on the applicability of

   Burdett Sound, but a review of Doctor’s Hospital also shows—through proper analysis under the

   rule of reason—why this case is distinguishable from the dealer termination/substitution cases.

          First, Burdett Sound supports the general proposition that without a showing of an actual

   adverse effect on competition market-wide, it is not a violation of antitrust laws “for a

   manufacturer to terminate a distributor . . . and to appoint an exclusive distributor.” See Elecs.

   Commc’ns Corp. v. Toshiba Am. Consumer Prod., Inc., 129 F.3d 240, 244 (2d Cir. 1997) (citing

   Burdett Sound, 515 F.2d at 1249). This does not mean that a manufacturer’s or supplier’s discretion

   as to whom it will sell is unlimited. Universal Brands, Inc. v. Philip Morris Inc., 546 F.2d 30, 33

   (5th Cir. 1977). As explained in Burdett Sound, a refusal to deal becomes illegal under the Sherman

   Act when it produces an unreasonable restraint of trade, such as price-fixing, elimination of

   competition, or creation of a monopoly. Burdett Sound, 515 F.2d at 1248 (citations omitted). In

   other words, if a refusal to deal is a device used to, among other things, acquire a monopoly or

   establish market dominance and drive out competitors, it is illegal. Universal Brands, 546 F.2d at

   33 (citations omitted).




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          In Burdett Sound, the Fifth Circuit held the appellant had not presented an antitrust claim,

   noting the appellant alleged no horizontal conspiracy among competitors, no effort by either

   appellee to establish market dominance, no restrictive trade practices, and no anti-competitive

   intent or effect. Burdett Sound, 515 F.2d at 1248. Here, Dexon does not merely allege—without

   more—that Cisco substituted one distributor for another within the scope of Burdett Sound. Rather,

   Dexon alleges a monopolist (Cisco) is conspiring with a large distributor (CDW) to coerce

   customers away from Dexon (who provides price and quality competition to other Cisco resellers

   and allows for Cisco’s competitors to penetrate the relevant markets). R&R at 37 (citing Docket

   No. 1, ¶¶ 56, 60–61, 90–91). Dexon further alleges the alleged conspiracy results in Cisco and

   CDW maintaining supra-competitive prices, reduced technology choices for customers, and

   Cisco’s maintaining its monopoly in the relevant markets. Id. (citing Docket No. 1, ¶¶ 63, 100).

          Second, Burdett Sound only addressed conduct designed to lessen intrabrand competition.

   Nw. Power Prod., Inc. v. Omark Indus., Inc., 576 F.2d 83, 87 (5th Cir. 1978). Here, as explained

   more fully below, Dexon alleges the Cisco-CDW conspiracy restricted both interbrand

   competition (between Cisco and its competitors) and intrabrand competition (between Cisco

   resellers). Docket No. 1, ¶¶ 60–61, 90–91.

          Defendants’ reliance on Doctor’s Hospital does not support their argument that any

   agreement between Cisco and CDW should be considered per se legal under Burdett Sound. In

   that case, Doctor’s Hospital of Jefferson, Inc. (“DHJ”) filed suit against a competing hospital and

   a preferred provider organization (“PPO”), which sold a mix of providers’ products as a separate

   product and substituted one provider for DHJ allegedly at the insistence of a competing provider.

   Doctor’s Hospital, 123 F.3d at 302, 308. The district court granted summary judgment to the

   defendants, reasoning that DHJ lacked standing to bring an antitrust suit against the defendants




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   because it had failed to demonstrate antitrust injury. Id. at 303. On appeal, the Fifth Circuit

   disagreed with the district court’s analysis of the standing issue but affirmed the grant of summary

   judgment on other grounds, one of which being that DHJ failed to establish injury to competition

   as required for a Sherman Act § 1 claim. Id.

          As their principal answer to each of DHJ’s alleged harms to competition, the defendants

   argued on appeal that the case was governed by the “substitution of dealer cases” like Burdett

   Sound, 515 F.2d at 1249, “which hold that a manufacturer has a virtually absolute right to choose

   to whom it sells its goods.” Doctor’s Hosp., 123 F.3d at 307. Rather than find the alleged

   agreement per se lawful, the Fifth Circuit applied the rule of reason and found DHJ had not

   presented evidence that affiliation with the PPO was necessary to compete in the marketplace or

   that DHJ’s exclusion from the PPO “somehow reflected injury to competition generally.” Id. at

   309. Among other things, the court considered DHJ’s allegation that it had been substantially

   weakened as a competitor because it lost PPO revenues and had been unfairly deprived of

   membership in a “premier managed care plan.” Id. at 310. The court noted that while injury to a

   competitor can be some evidence of injury to competition, “the injuries to DHJ [were] insufficient

   under the circumstances to create a fact issue on injury to competition.” Id.

          Conducting that analysis here, the Court cannot say there are insufficient facts to state a

   claim and that it is implausible that Defendants engaged in a conspiracy, effectively restraining

   trade. An antitrust violation only occurs if the termination or substitution of a dealer produces an

   “unreasonable restraint of trade.” Daniels v. All Steel Equip., Inc., 590 F.2d 111, 113 (5th Cir.

   1979) (quoting Burdett Sound, 515 F.2d at 1248). Continental T.V. teaches that market

   considerations provide the “objective benchmarks” for distinguishing antitrust violations. Id.

   (citing Cont’l T. V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 53 n.21 (1977)). “The first step in




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   establishing an unreasonable restraint of trade is to show anticompetitive effect, either in the

   intrabrand or interbrand markets.” Id. (quoting H & B Equip. Co. v. Int'l Harvester Co., 577 F.2d

   239, 246 (5th Cir. 1978)).

          According to the Fifth Circuit, the question is whether the agreement caused

   anticompetitive effects or “created the potential for anticompetitive effects.” Impax Lab’ys, Inc. v.

   Fed. Trade Comm’n, 994 F.3d 484, 492 (5th Cir. 2021), cert. denied, 142 S. Ct. 712 (2021), (citing

   Doctor’s Hosp., 123 F.3d at 310; Retractable Techs, Inc. v. Becton Dickinson & Co., 842 F.3d

   883, 895 (5th Cir. 2016) (“noting that an antitrust plaintiff must show that a restraint ‘had the

   potential to eliminate, or did in fact eliminate, competition’”)). “Anticompetitive effects are those

   that harm consumers. Think increased prices, decreased output, or lower quality goods.” Id. at 493.

   Such effects may be proved “indirectly,” with “proof of market power plus some evidence that the

   challenged restraint harms competition.” Id. at 492–93 (quoting Ohio v. Am. Express Co., 138 S.

   Ct. 2274, 2284 (2018)).

           Deciding whether a plaintiff has plausibly alleged that a vertical agreement causes

   substantial anti-competitive harm requires an analysis of the defendants’ role in the relevant

   market. In re Pool Prods., 940 F. Supp. 2d at 397 (citing Dickson v. Microsoft Corp., 309 F.3d

   193, 207 (4th Cir. 2002)). Under the rule of reason, the plaintiff must plausibly allege that

   defendants have sufficient market power to restrain competition substantially in a relevant market. 8



   8
     Whether or not a combination or conspiracy falls under the per se rule often depends upon
   whether the restriction is implemented by a vertical or horizontal agreement. Jayco Sys., Inc. v.
   Savin Bus. Machines Corp., 777 F.2d 306, 317 (5th Cir. 1985) (citing Red Diamond Supply, Inc.
   v. Liquid Carbonic Corp., 637 F.2d 1001, 1004 (5th Cir.1981) (explaining the first step of the
   analysis is to determine whether alleged conspiracy is vertical or horizontal)). Horizontal
   agreements affect inter brand competition, and because interbrand competition is “the primary
   concern of antitrust law,” they are generally illegal per se. Id. (citing Cont’l T. V., Inc. 433 U.S. at
   36). Vertical agreements, on the other hand, generally affect intra brand competition. Id. “Because
   interbrand competition can act as a check on intrabrand restrictions, [] and because intrabrand


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   Id. The Fifth Circuit has stated that an examination of anti-competitive harm “cannot stop without

   an inquiry into the market power of the defendants.” Nw. Power Prod., 576 F.2d at 90.

          Notably, in Northwest Power Products, the Fifth Circuit pointed out in this regard that

   Burdett Sound indicated the evidence there showed “no effort by either (defendant) to establish

   market dominance.” Id. (quoting Burdett Sound, 515 F.2d at 1248). In contrast, in Cherokee

   Lab’ys, Inc. v. Rotary Drilling Servs., Inc., 383 F.2d 97 (5th Cir. 1967), a case involving interbrand

   as well as intrabrand competition, the Fifth Circuit held an anticompetitive effect existed when the

   new distributor, if effective in driving out the old, would become a monopolist. Id.

          This case involves allegations of both interbrand and intrabrand competition, and Dexon

   has pleaded allegations of market dominance. As noted by the Magistrate Judge concerning

   intrabrand competition, the complaint alleges the Cisco-CDW conspiracy required customers to

   pay more for Cisco equipment from CDW and limited customers’ choices for the services for

   Cisco products. R&R at 39. The conspiracy allegedly harmed interbrand competition by removing

   Dexon who “does not prioritize” Cisco products, thereby “limiting the opportunities of its

   competitors to make sales through resellers like Dexon.” Id. (quoting Docket No. 1, ¶ 61). Dexon

   provides an example of this conspiracy involving a Pennsylvania hospital system wherein the

   hospital bought equipment from CDW at a higher price than had been negotiated with Dexon. Id.

   (citing Docket No. 1, ¶ 60). This conspiracy allegedly allows Cisco to maintain its monopoly

   position and its supra-competitive prices. Id., (citing Docket No. 1, ¶¶ 90–93). According to the

   Magistrate Judge, not only do these interbrand and intrabrand allegations explain how the

   conspiracy harms competition, but they also mirror those in Graphic Prods., 717 F.2d at 1572



   restrictions in turn can increase interbrand competition in several ways, [] vertical agreements are
   generally considered not so pernicious as to warrant per se treatment.” Id.


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   n. 20 and West Penn, 627 F.3d at 85. Relying further on In re Pool Prods. Distribution Mkt.

   Antitrust Litig., 940 F. Supp. 2d 367 (E.D. La. 2013), discussed above, the Magistrate Judge held

   the alleged agreement between a monopolist and a favored distributor to exclude interbrand and

   intrabrand competition states a claim.

          In its objections, Cisco argues Dexon cannot plausibly allege harm to competition because

   the vertical conspiracy alleged by Dexon “cannot conceivably prevent Cisco’s competitors from

   making sales—Dexon instead alleges that the conspiracy caused it to specifically lose sales of

   Cisco equipment.” Docket No. 119 at 6 (emphasis in original). In its objections, CDW argues

   Dexon alleges “nothing more than a classic, lawful restriction on intrabrand competition to

   promote interbrand competition, which is presumptively lawful under the Sherman Act.” Docket

   No. 120 at 7. Although CDW attempts to distinguish the Graphic Prods. and West Penn cases

   relied upon by the Magistrate Judge, 9 Dexon argues in its response that both cases illustrate that

   when a monopolist allegedly uses its power to foreclose interbrand and intrabrand competition

   from an unfavored dealer, that is sufficient to state a claim under the Sherman Act. Docket No.

   122 at 5. Dexon further points out CDW fails to meaningfully discuss the Magistrate Judge’s

   application of In re Pool Prods., “which confirms the correct result.” Id. Both Defendants fail to

   address the critical fact that Cisco is an alleged monopolist that allegedly has the ability to control

   price and exclude competition in the relevant markets.




   9
     According to CDW, in both cases cited in the R&R (Graphic Prods. and West Penn), the
   disfavored distributor was excluded from the market, affecting prices or output market-wide.
   Docket No. 120 at 6. CDW contends Dexon does not allege it was excluded from selling its Cisco
   products (or those of other OEMs) to end customers or that a few lost sales opportunities had a
   market-wide effect. Id. The Magistrate Judge noted these arguments but found them insufficient
   to grant Defendants’ motion to dismiss in light of Dexon’s well-pleaded complaint. R&R at 38–39.


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          The Fifth Circuit has held that “injury to a competitor can be some evidence of injury to

   the competition.” Doctor’s Hospital, 123 F.3d at 311; see also West Penn, 627 F.3d at 108 (“a firm

   engages in anticompetitive conduct when it attempts to exclude rivals on some basis other than

   efficiency. . . or the merits.”). Here, the Court finds Dexon has sufficiently alleged indirect proof

   of anticompetitive effects with allegations of “market power plus some evidence that the

   challenged restraint harms competition.” Impax, 994 F.3d at 492–93 (quoting Am. Express Co.,

   138 S.Ct. at 2284). Dexon contends the Cisco-CDW conspiracy resulted in sales losses to Dexon

   and in improper losses of goodwill, “which has had the effect of lowering intra-brand and

   inter-brand competition to Cisco in the upstream market.” Docket No. 24 at 19. Dexon states it

   provides price and quality competition to other Cisco resellers and provides an opportunity for

   Cisco’s competitors to penetrate the Relevant Product Markets, but the alleged conspiracy between

   Cisco and CDW blocked competition from a “price cutting” distributor. Id. at 17–19 (citing Docket

   No. 1, ¶¶ 60–61, 90–92).

          Dexon’s complaint is neither vague nor speculative; it contains far more than a “bare

   assertion of conspiracy” or “conclusory allegation of agreement[.]” Drs. Hosp. of Laredo v.

   Cigarroa, No. SA-21-CV-01068-XR, 2022 WL 3567353, at *13 (W.D. Tex. Aug. 17, 2022)

   (quoting Twombly, 550 U.S. at 556–57). Upon de novo review, the Court finds Dexon’s complaint

   plausibly alleges a restraint that is likely to result in an anticompetitive effect. Accordingly,

   Defendants’ objections to this portion of the R&R are OVERRULED.

                                  (b)    Whether Dexon sufficiently alleges antitrust injury

          Report and Recommendation. Regarding antitrust injury, the Magistrate Judge found

   Dexon has sufficiently alleged antitrust injury for purposes of antitrust standing and recommended

   this part of Defendants’ motions to dismiss be denied. R&R at 77. Specifically, the Magistrate




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   Judge noted the Fifth Circuit has repeatedly distinguished between antitrust injury and injury to

   competition. Id. at 73 (citations omitted). According to the Magistrate Judge, injury to competition,

   while often a necessary component to substantive liability, need not be pleaded as an element of

   standing for a plaintiff’s antitrust claims to survive a motion to dismiss. Id. (citing TravelPass

   Grp., L.L.C. v. Caesars Ent. Corp., No. 5:18-CV-153-RWS-CMC, 2019 WL 5691996, at *24

   (E.D. Tex. Aug. 29, 2019), report and recommendation adopted, No. 5:18-CV-00153-RWS-CMC,

   2019 WL 4727425 (E.D. Tex. Sept. 27, 2019)).

          For purposes of the analysis, the Magistrate Judge assumed a violation of the antitrust laws.

   R&R at 76 (citing Sanger Ins. Agency v. HUB Intern., Ltd., 802 F.3d 732, 738 (5th Cir. 2015)

   (stating in the context of exclusive dealing that “[i]n analyzing this [antitrust] standing issue, we

   assume that [plaintiffs’] allegations of exclusive dealing amount to an antitrust violation” (citing

   Doctor’s Hospital, 123 F.3d at 306 )). At this stage of the litigation, viewing the alleged antitrust

   injury from the perspective of Dexon’s position in the marketplace, the Magistrate Judge found

   Dexon has adequately claimed an antitrust injury. Id. According to the Magistrate Judge, the

   alleged losses and competitive disadvantage resulting from Cisco’s alleged actions, including the

   alleged conspiracy with CDW, fall within the “conceptual bounds of antitrust injury, whatever the

   ultimate merits of its case.” Id. (quoting Doctor’s Hospital, 123 F.3d at 305) (other citations

   omitted).

          In finding Dexon has sufficiently shown antitrust injury, the Magistrate Judge found Pulse

   Network instructive. In that case, the Fifth Circuit held Pulse had not shown antitrust injury as to

   its first theory (PAVD), but it had shown antitrust injury as to its second and third theories (FANF

   and volume-based agreements). Pulse Network, L.L.C. v. Visa, Inc., 30 F.4th 480, 491–95 (5th Cir.

   2022). In its FANF theory, Pulse alleged the FANF pricing structure used by Visa caused




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   merchants to use its debit network less, decreasing Pulse’s revenue. Id. at 491. According to Pulse,

   “Visa uses its market dominance to foist on merchants a high fixed fee they wouldn’t ordinarily

   accept” and “then uses the revenues from that unavoidable upfront fee to artificially lower its

   per-transaction fees, which effectively forecloses rivals like Pulse from competing.” Id. In arguing

   there was no antitrust injury, Visa argued that Pulse was “really harmed only by the increased

   competition created by FANF (i.e., cheaper per-transaction fees), rather than some anticompetitive

   aspect of the pricing structure.” Id. The Fifth Circuit held as follows:

          Pulse claims more than price competition is afoot, though. After the Durbin
          Amendment loosened Visa’s grip on the debit network market, Visa began
          shedding merchants to Pulse and other networks because its pricing wasn’t
          competitive on a per-transaction basis. Instead of improving its product or
          competing on price, however, VISA began charging the FANF to merchants—and
          then using some of those revenues to reduce per-transaction fees. This integrated
          fee structure, argues Pulse, forces merchants to pay a higher total cost (fixed plus
          per-transaction fees) than before, and yet Visa’s market share and profits have
          recovered.

          This alleged scheme inflicts antitrust injury on Pulse. Under Pulse’s theory, it
          doesn’t lose customers to Visa in a fair fight over per-transaction fees. Rather, Pulse
          loses customers because Visa abuses its dominance in the debit card market.
          Merchants have no choice but to pay Visa’s high fixed monthly fee. They recoup
          that expense by routing more transactions through Visa’s network, which charges
          lower per-transaction fees than competitors. But Visa can achieve that only by
          leveraging the upfront fees to artificially deflate its per-transaction fees. We must
          assume this pricing structure violates the antitrust laws. See Sanger Ins. Agency [v.
          HUB Intern, Ltd., 802 F.3d 732, 738 (5th Cir. 2015)]; Doctor’s Hosp., 123 F.3d at
          306. When we do, the link between Pulse’s injury and Visa’s alleged
          anticompetitive conduct becomes plain. Pulse is squeezed out of the market because
          Visa exploits its dominance to impose supra-competitive prices on merchants and
          simultaneously undercut competitors’ per-transaction fees. That is textbook
          antitrust injury. See Andrx Pharms., Inc. v. Biovail Corp. Int'l, 256 F.3d 799,
          816–17 (D.C. Cir. 2001) (“Irrespective of consumer injury, an excluded
          competitor . . . suffers a distinct injury if it is prevented from selling its product.”).

   Id. at 74–75.

          Defendants’ objections. CDW contends, along with Cisco, that Dexon did not sustain an

   antitrust injury. In its objections, Cisco argues that to the extent Dexon alleges it lost sales to



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   Cisco-authorized resellers like CDW, those losses result from competition, not the lack thereof.

   Docket No. 119 at 8. CDW argues Dexon lacks antitrust injury because “it does not allege it has

   been prevented from selling its products to customers.” Docket No. 120 at 7. Attempting to

   distinguish Pulse Network, CDW states that case involved allegations that the defendant

   “manipulat[ed] prices in a way that excludes competitors from the market.” Id. (quoting Pulse

   Network, 30 F.4th at 493). According to CDW, Dexon does not allege it has been excluded from

   anything. Id.

          The Magistrate Judge stated that antitrust injury requires that a plaintiff’s injury is “of the

   type the antitrust laws were intended to prevent and . . . flows from that which makes defendants’

   acts unlawful.” R&R at 74 (quoting Brunswick Corp. v. Pueblo Bowl–O–Mat, Inc., 429 U.S. 477,

   488–89 (1977)). In Doctor’s Hospital, the Fifth Circuit held that when the antitrust injury was

   viewed from the perspective of the plaintiff’s position in the marketplace, not from the merits-

   related perspective of the impact of a defendant’s conduct on overall competition, the plaintiff’s

   “alleged losses and competitive disadvantage because of its exclusion from SMA [fell] easily

   within the conceptual bounds of antitrust injury, whatever the ultimate merits of its case.” Doctor’s

   Hospital, 123 F.3d at 305.

          The R&R explains that when “viewing the alleged antitrust injury from the perspective of

   Dexon’s position in the marketplace, the Court finds Dexon has adequately claimed an antitrust

   injury.” Id. at 76. According to the Magistrate Judge, “[t]he alleged losses and competitive

   disadvantage resulting from Cisco’s alleged actions, including the alleged conspiracy with CDW,

   fall within the conceptual bounds of antitrust injury, whatever the ultimate merits of its case.” Id.

   (citing Doctor’s Hospital, 123 F.3d at 305; Pulse Network, 30 F.4th at 491 (finding Pulse’s

   incremental exclusion from the relevant market because of defendant’s alleged anticompetitive




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   conduct “is textbook antitrust injury”); Andrx Pharms., Inc. v. Biovail Corp. Int’l, 256 F.3d 799,

   816–17 (D.C. Cir. 2001) (“Irrespective of consumer injury, an excluded competitor. . . suffers a

   distinct injury if it is prevented from selling its product.”)).

           Defendants object to the R&R’s finding as to antitrust injury, focusing narrowly on whether

   Dexon was excluded from the market. In its response to Cisco’s objections, Dexon states it has

   alleged Cisco’s conduct was specifically designed to maintain its dominance over its smaller

   competitors and also that Dexon’s reputation as a trusted multi-vendor reseller has been harmed

   by Defendants’ conduct. Docket No. 121 at 8. As the R&R points out, Dexon’s allegations of

   antitrust injury include, among other allegations, the following:

           Dexon has lost customers and customer revenues and profits from purchases due to
           the anticompetitive and coercive tactics employed by Cisco. Even for those
           customers it did not lose, where Dexon was forced to provide new equipment to
           customers under duress from Cisco, Dexon was forced to sustain losses that directly
           stem from Cisco’s anticompetitive conduct. Namely, to preserve the integrity of
           customers’ networks while assuring customers that they would receive the services
           for which they had paid, Dexon took losses for products which should have been
           serviced by Cisco under the previously approved SmartNet service packages.

   R&R at 14; see also id. at 15.

           An antitrust plaintiff must present plausible allegations establishing an antitrust injury in

   its complaint. Corrente v. Charles Schwab Corp., Case No. 4:22-CV-00470, 2023 WL 2244680,

   at *6 (E.D. Tex. Feb. 24, 2023) (citing In re Pool Prods., 940 F. Supp. 2d at 399). That said, the

   adequacy of a plaintiff’s contentions regarding a transaction’s effect on competition is often a

   fact-intensive inquiry that requires discovery. Id. (citing Sanger, 802 F.3d at 738 (“noting that

   antitrust injury and other standing issues ‘may present disputed issues of fact’”); Pfizer Inc. v.

   Johnson & Johnson, 333 F. Supp. 3d 494, 501 (E.D. Pa. 2018) (“noting that ‘the adequacy of a

   plaintiff’s contentions regarding the effect on competition is typically resolved after discovery,

   either on summary judgment or after trial’”)). For this reason, “the existence of an antitrust injury



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   is not typically resolved through motions to dismiss.” Id. (quoting TravelPass, 2019 WL 5691996,

   at *22 n. 25). Indeed, in assessing whether a plaintiff has adequately alleged an antitrust injury,

   the Court must assume that an antitrust violation has occurred. Id. (citing Sanger, 802 F.3d at 738).

   Similar to the court in Corrente, the Court finds on de novo review that Dexon has adequately

   pleaded an antitrust injury. Id. Accordingly, Defendants’ objections to this portion of the R&R are

   OVERRULED.

                          2)      Dexon’s per se tying claim against Cisco under Sherman Act § 1
                                  (Count III) and monopolization and attempted monopolization
                                  claims against Cisco under Sherman Act § 2 (Counts IV, V)

          Cisco’s assertions regarding Dexon’s per se tying claim. Cisco asserts Dexon’s tying

   claim under Sherman Act § 1 (Count III) fails for three reasons, two of which relate to the

   California Court’s earlier dismissal of Dexon’s California Counterclaims with leave to amend.

   R&R at Docket No. 22 at 17–23. Cisco first asserts Dexon never alleges any facts to support its

   conclusory allegations that Cisco used its market power to foreclose sales of any competitor’s

   equipment and cites the California Court’s dismissal of Dexon’s tying claim for failure to allege

   “Cisco’s competitors are impacted.” Id. at 17–21 (citing Cisco I, 2021 WL 5848080, at *4). Cisco

   next asserts Dexon has not plausibly alleged any tie between service and equipment. Id. at 21–22.

   Again, Cisco references the California Court’s decision, noting the California Court found the

   supposed tie “makes no logical sense.” Id. at 21 (citing Cisco I, 2021 WL 5848080, at *5). Finally,

   unrelated to the California Court’s decision, Cisco argues Dexon’s allegations state that customers

   can pay a “‘re-certification fee” to forego the purchase of new equipment as a condition of

   obtaining SmartNet service, and that is not a tying claim. Id. at 22–23.

          Dexon makes at least two arguments in response to Cisco’s motion, both of which would

   distinguish the reasoning provided by the California Court based on the factual allegations




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   contained in Dexon’s California Counterclaims. First, Dexon disputes that it is required to plead

   “substantial foreclosure” in the tied product market. Docket No. 24 at 17. Dexon asserts Cisco

   improperly attempts to import the “substantial foreclosure” requirement applicable to exclusive

   dealing claims to this per se tying claim. Id.

          Second, unlike in the California Lawsuit, here Dexon says “lock-in” is key to its per se

   tying claim. Apparently relying on a Kodak “lock-in” theory of tying, Dexon states it alleges Cisco

   has threatened to withhold service on an entire installed base of products “to extract supra-

   competitive purchases of specific tied products.” Docket No. 34 at 8. Pursuant to this theory,

   Dexon states it has sufficiently alleged anticompetitive effects in the tied product markets by

   providing “detailed allegations that when customers are forced to purchase products they do not

   want or need, or are forced to purchase them on coerced terms, it inevitably leads to foreclosure

   of Cisco’s equipment competitors because customers’ limited IT budgets have already been spent,

   precluding considering of competitive alternatives.” Docket No. 24 at 23; see also id. at 22–23

   (further stating Cisco “takes advantage” of “locked-in customers” who had been assured they

   would receive maintenance and service without purchasing anything else, “forcing the customer

   to spend more of their limited budget to eliminate competitive alternatives in the process”).

   According to Dexon, as in Kodak, it is the timing of the withholding service that makes Cisco’s

   conduct anticompetitive. Id. at 22.

          Cisco’s assertions regarding Dexon’s monopolization/attempted monopolization

   claims. Regarding Dexon’s monopolization/attempted monopolization claims against Cisco under

   Sherman Act § 2 (Counts IV, V), Cisco asserts Dexon fails to allege actionable exclusionary

   conduct. Docket No. 22 at 23–28. Cisco argues the monopolization claims fail “for the same reason

   that its tying claim fails: Dexon does not allege that Cisco’s SmartNet-related conduct prevents




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   Cisco’s equipment-manufacturing competitors from making sales.” Id. at 24. Cisco next argues

   that “in any event,” Cisco’s alleged conduct does not plausibly amount to anticompetitive or

   exclusionary conduct. Id. Cisco characterizes Dexon’s complaint as a “change of distributor” or

   “refusal to deal” case, and then argues that Dexon’s allegations that Cisco maintained or attempted

   to maintain its monopoly position by having distributors charge higher prices do not “make

   economic sense” while claiming Cisco “has no antitrust obligation to assist its competitors.” Id. at

   24–28.

            Report and Recommendation. In the R&R, the Magistrate Judge discusses at length the

   “lock-in” tying arrangement expressed in Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

   451 (1992). See R&R at 48, 52–65. The Magistrate Judge found Dexon’s complaint contains

   sufficient allegations concerning a Kodak lock-in theory of tying, explaining the installed

   networking equipment already purchased is the alleged “lock-in” product; SmartNet service is the

   alleged tying product; and new networking equipment in the Relevant Products Markets is the

   alleged tied product. Id. at 55 (citing Lee v. Life Ins. Co. of N. Am., 23 F.3d 14, 17 (1st Cir. 1994));

   see also id. at 55–56 (citing Docket No. 1, ¶¶ 45–46, 67, 102; also citing Docket No. 1 at 15 (“Cisco

   locks in customers who required maintenance with SmartNet, and then uses SmartNet as a hammer

   to force supracompetitive purchases of routers and ethernet switches.”)).

            The Magistrate Judge noted the parties’ arguments reflect differences in how the parties

   view Dexon’s tying claim. Dexon alleges a Kodak “lock-in” theory of tying liability, arguing it

   does not need to allege substantial foreclosure to competitors because that is only applicable to

   exclusive dealing claims. R&R at 52. Having found Dexon plausibly alleges a Kodak theory of

   per se tying liability, id. at 52–58, and that Cisco has not shown Dexon’s theory fails to make

   economic sense, id. at 58–60, the Magistrate Judge stated Dexon has sufficiently alleged a tying




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   arrangement involving the use of market power to force consumers to buy goods they would not

   otherwise purchase. Id. at 60–65.

          The Magistrate Judge found Cisco fails to persuasively show that such a theory of tying

   liability requires a showing of substantial market foreclosure of competitors’ sales that it argues

   for in its briefing. Id. at 65. Even so, the Magistrate Judge further found Dexon has sufficiently

   alleged foreclosure of Cisco’s competitors to survive a motion to dismiss. Among other things, the

   Magistrate Judge noted Dexon has alleged that when customers are forced to purchase products

   they do not want or need, or are forced to purchase them on coerced terms, it inevitably leads to

   foreclosure of Cisco’s equipment competitors because customers’ limited IT budgets have already

   been spent, precluding consideration of competitive alternatives. Id. (citing Docket No. 24 at 23

   (citing Docket No. 1, ¶¶ 4–5, 51)).

          Regarding Cisco’s argument that Dexon’s tying claims also fail because Dexon alleges that

   customers can avoid purchasing new equipment by instead paying a “re-certification fee”

   (apparently arguing that because no new equipment is purchased, there is no tie), the Magistrate

   Judge stated “Cisco’s argument is not well developed, and the extent, effect, and details of any

   re-certification fee are not sufficiently known to render Dexon’s otherwise well-pleaded claims

   futile.” Id. at 66. For all these reasons, the Magistrate Judge concluded Dexon has plausibly stated

   a per se tying claim against Cisco under Sherman Act § 1.

          The Magistrate Judge, viewing Dexon’s allegations collectively and in the light most

   favorable to Dexon, further found Dexon plausibly states monopolization and attempted

   monopolization claims against Cisco under Sherman Act § 2. Id. at 69. Specifically, the Magistrate

   Judge held as follows:

          Cisco does not challenge Dexon’s pleading regarding the first element, that Cisco
          possesses monopoly power in each of the Relevant Markets. Cisco disputes the



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         second element, the anticompetitive (or “exclusionary”) conduct element. Dexon
         alleges two theories to establish anticompetitive conduct: tying and FUD tactics.

         Dexon’s allegations regarding Cisco’s tying-related conduct and FUD strategies
         towards the end-users of its equipment are sufficient to defeat a motion to dismiss.
         As noted above, the Court in Kodak stated the second element of a § 2 claim is the
         use of monopoly power “to foreclose competition, to gain a competitive advantage,
         or to destroy a competitor.” Kodak, 504 U.S. at 482–83 (citations omitted).
         According to the Court, if Kodak adopted its parts and service policies as part of a
         scheme of willful acquisition or maintenance of monopoly power, it will have
         violated § 2. Id. The Court further stated respondents had presented evidence that
         Kodak took exclusionary action to maintain its parts monopoly and used its control
         over parts to strengthen its monopoly share of the Kodak service market; liability
         turned, then, on whether “valid business reasons” could explain Kodak’s actions.
         Id. at 483 (citations omitted). Finally, the Court considered Kodak’s “three valid
         business justifications for its actions,” concluding factual questions existed “about
         the validity and sufficiency of each claimed justification, making summary
         judgment inappropriate.” Id. at 483. Like the ISOs in Kodak, Dexon alleges Cisco’s
         tying conduct supports a § 2 claim as well.

         Further, Dexon’s allegations concerning Cisco’s FUD strategies also plausibly
         show exclusionary conduct by Cisco to support Dexon’s § 2 claims. See Dkt. No.
         1, ¶¶ 6–9, 64–68 (alleging Cisco uses FUD to dissuade customers from purchasing
         from resellers with lower prices and to accomplish its coercion strategies). The
         Third Circuit previously rejected a defendant’s attempt to claim such conduct does
         not show anticompetitive conduct, specifically “in the context of a Kodak claim.”
         See Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d 354 (3d Cir. 2016) (holding that
         “the allegedly predatory acts—e.g., terminating dealings with TLI; sending ‘fear,
         doubt, and uncertainty’ letters to TLI’s maintenance customers; and trespassing and
         spying on TLI’s customers” was “sufficient to show exclusionary conduct for
         purposes of § 2” and to support the jury’s judgment on the issue). For its part,
         Cisco’s briefing does not specifically address Dexon’s FUD[] allegations.

         Instead, Cisco first argues that the monopolization claims fail “for the same reason
         that its tying claim fails: Dexon does not allege that Cisco’s SmartNet-related
         conduct prevents Cisco’s equipment-manufacturing competitors from making
         sales.” Dkt. No. 22 at 24. For the reasons explained with respect to Dexon’s tying
         claims, Cisco’s argument that Dexon fails to plausibly plead harm to competition
         is rejected. Further, Cisco does not address Fifth Circuit law holding that “injury to
         competition is presumed to follow from the conduct proscribed by § 2.” Walker [v.
         U–Haul Co. of Mississippi, 747 F.2d 1011, 1013 (5th Cir. 1984)].

         Cisco next argues that “in any event,” Cisco’s alleged conduct does not plausibly
         amount to anticompetitive or exclusionary conduct. Dkt. No. 22 at 24. Cisco
         characterizes Dexon’s complaint as a “change of distributor” or “refusal to deal”
         case, and then argues that Dexon’s allegations that Cisco maintained or attempted



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          to maintain its monopoly position by having distributors charge higher prices does
          not “make economic sense” while claiming Cisco “has no antitrust obligation to
          assist its competitors.” Id. at 24–28. None of these arguments are proper at this
          stage. Dexon does allege a mere change of distributor or refusal to deal dispute, and
          assuming the allegations are true, Cisco’s tying and FUD strategies make economic
          sense, at least in terms of a Kodak claim, as long as those actions maintain or
          enhance Cisco’s monopoly power as alleged. See Dkt. No. 24 at 27 (citing Dkt. No.
          1, ¶¶ 84, 91, 98, 106, 112).

   Id. at 67–69.

          The Magistrate Judge recommended the Court deny Cisco’s motion to dismiss Dexon’s

   per se tying claim against Cisco under Sherman Act § 1 and Dexon’s monopolization and

   attempted monopolization claims against Cisco under Sherman Act § 2.

          Cisco’s objections. In its objections, Cisco asserts Dexon’s failure to allege that Cisco’s

   conduct hindered competitors from making sales is fatal to Dexon’s claims. Docket No. 119 at 4.

   Relying on Cisco I, Cisco argues Dexon’s claims require allegations of foreclosure—“that is, that

   Cisco’s conduct prevented Cisco’s competitors from making sales in the relevant markets.” Id.

   (citing Cisco I, 2021 WL 5848080, at *4–5). Asserting the R&R conflicts with the ruling of the

   California Court, Cisco asserts the Magistrate Judge fails to “distinguish” Cisco I on the tying

   claim on the ground that Dexon’s complaint relies on a Kodak lock-in theory of tying. According

   to Cisco, Dexon’s California Counterclaims pleaded this theory, and the California Court rejected

   the theory. Id. at 4–5. Cisco further asserts the R&R cites no case supporting its holding that a

   plaintiff need not allege harm to competition in the relevant market, and it ignores relevant cases

   cited by Cisco. Id. at 5 (citing Chawla v. Shell Oil Co., 75 F. Supp. 2d 626, 641 (S.D. Tex. 1999)

   (“Kodak . . . does not excuse failure of a plaintiff to allege an effect on competition in the tied

   product’s market.”)).

          Cisco reiterates its arguments as expressed in its underlying briefing that Dexon fails to

   allege foreclosure. In its objections, Cisco asserts the R&R cites no case holding that a plaintiff



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   can state a monopolization claim without alleging foreclosure. Id. Cisco argues Dexon’s tying and

   monopolization/attempted monopolization claims fail because Dexon “does not allege that any

   customer wanted to buy networking equipment or IP phones made by Cisco’s competitors and that

   Cisco prevented them from doing so.” Id. (citing Cisco I, 2021 WL 5848080, at *4–5).

          Finally, Cisco asserts Dexon does not allege a tie with regard to its Kodak lock-in theory.

   Id. at 7. According to Cisco, the R&R “has no meaningful response” to Cisco’s argument regarding

   the “re-certification fee.” Id. Cisco further contends, as it did in its motion to dismiss, that Dexon’s

   antitrust claims do not make economic sense and must be dismissed. Id. at 7–8.

          De novo review. The R&R considered Dexon’s complaint in detail and properly found that

   the Court must accept as true all well-pleaded facts in the complaint and view those facts in the

   light most favorable to Dexon. R&R at 19. In doing so, the Magistrate Judge found that Cisco is a

   monopolist in the Relevant Networking Equipment Markets (id. at 41), the Relevant IP Phone

   Markets (id.), (together the “Relevant Product Markets”), and the Relevant Service Markets

   (collectively the “Relevant Markets”). Id. at 41–42. The Magistrate Judge also found that Dexon

   properly stated claims under §§ 1 and 2 of the Sherman Act as well as under the Texas Free

   Enterprise Act due to Dexon’s allegations regarding Cisco’s alleged tying-related conduct and use

   of fear, uncertainty and doubt (“FUD”) strategies. Cisco’s objections to the R&R’s recommended

   findings of fact and conclusions of law regarding Counts III, IV, and V do not specifically

   challenge the majority of the Magistrate Judge’s findings and conclusions, except for Cisco’s

   assertions as outlined above and which the Court summarizes as follows:

              •   The R&R conflicts with Cisco I because the California Court considered and
                  rejected a Kodak “lock-in” theory of tying liability, stated the “supposed tie
                  makes no logical sense,” and also held Dexon’s monopolization claims fail
                  because the “theory for why Cisco took action against Dexon makes little
                  economic sense.”




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               •   The R&R errs with regard to Dexon’s tying and monopolization claims because it
                   did not find foreclosure (i.e., that Cisco’s conduct affected the sales of Cisco’s
                   competitors).

               •   The R&R did not correctly determine a tie as required to allege a Kodak “lock-in”
                   theory, and the R&R has “no meaningful response” to Cisco’s arguments
                   regarding Dexon’s allegations of “re-certification fee.”

           Although many of the arguments rehash Cisco’s earlier assertions without meaningfully

   engaging in the analysis contained in the R&R, the Court considers each in turn, finding each one

   without merit. Throughout its objections, Cisco challenges the R&R’s finding of per se tying on

   the basis that it conflicts with the California Court’s prior ruling on Dexon’s California

   Counterclaims. According to Cisco, the California Court specifically rejected a “lock-in” theory

   of per se tying liability, citing Kodak. Docket No. 119 at 3–4. Cisco argues the California Court

   held that “this reverse-Kodak theory” “makes no logical sense” because no consumer wants Cisco

   service unless it wants Cisco equipment in the first place. Id. at 7.

           The Magistrate Judge was clear that he would only revisit specific findings of the

   California Court to the extent there was a compelling reason to do so, “such as a difference in

   controlling law, citation to prior rulings of this Court, or substantive factual allegations not pleaded

   in the California Court.” R&R at 17. The R&R also makes clear there are four new examples of

   alleged anticompetitive conduct involving tying in this complaint which were not alleged in

   Dexon’s California Counterclaims (Texas bank, automotive dealership, energy company, and

   school district), and the “IT budget phenomenon” was also absent from the California Lawsuit. Id.

   at 52–53. As the R&R explains, Dexon states the “lock-in combined with the limited IT budget”

   brings Dexon’s allegations in this case in line with Kodak. Id. at 53 (quoting Docket No. 62

   (Transcript) at 102:18–20).




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          Additionally, in addressing whether Dexon’s Kodak “lock-in” tying claim makes economic

   sense as alleged in this case, the Magistrate Judge specifically considered whether the California

   Court had substantively ruled on a Kodak “lock-in” theory of tying liability in Cisco I. Id. at 59.

   Although the California Court stated in a footnote that it “is at least theoretically possible for a

   firm to harm competitors by locking customers into a costly long-term service plan and then

   requiring purchases in a tied equipment market that customers en masse (for some set of reasons)

   cannot refuse,” the California Court also noted the “the conditions necessary” for such an

   arrangement were “far away from the facts alleged here.” Id. (quoting Cisco I, 2021 WL 5848080,

   at *5, n.2). The Magistrate Judge found the California Court had not ruled on a Kodak “lock-in”

   theory of tying liability, especially considering the new substantive factual allegations pleaded in

   this case. Id. (citing Docket No. 62 (Transcript) at 73:4–7 (stating an “important fact” that was not

   before the California Court “that is littered throughout these [new] examples but also pled more

   generally are limited IT budgets”); also citing id. at 90:22–24 (“I just did a search, the only

   allegation on budget that we made in California was why a customer might buy SmartNet in

   general. It was not about lock-in”)). The Court finds no conflict between the R&R and the

   substantive rulings of the California Court in Cisco I.

          Cisco argues Dexon’s claims do not make economic sense without addressing the

   Magistrate Judge’s extensive discussion that they do make economic sense in the context of a

   Kodak “lock-in” theory of tying liability. Id. at 59–60. As the R&R explains, “fundamentally,

   Dexon does not allege [as Cisco contends] that the already owned network equipment is the tied

   product; rather, as explained above, Dexon alleges here that the equipment the customer already

   owns is the lock-in product while the new equipment is the tied product.” Id. at 59 (emphasis

   added). In addition, “the complaint sufficiently alleges that Cisco has threatened to withhold




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   service on an entire installed base of products to extract supra-competitive purchases of specific

   tied products.” Id.

          In its objections, Cisco reiterates, with regard to the per se tying claims, its argument

   regarding Dexon’s allegation that some customers can pay a recertification fee to receive SmartNet

   service. However, as the R&R explained, “Cisco’s argument is not well developed, and the extent,

   effect, and details of any recertification fee are not sufficiently known to render Dexon’s otherwise

   well-pleaded claims futile.” Id. at 66. Cisco’s assertions regarding Dexon’s allegation of a

   “re-certification fee” do not invalidate the sufficiency of other allegations contained in the

   complaint which properly raise a Kodak “lock-in” theory of tying that makes economic sense. For

   example, in Dexon’s response to Cisco’s objections, Dexon points out “the R&R correctly

   observed that in the case of the Texas Bank, it could only be eligible for SmartNet renewal if it

   bought more Cisco switches and routers. Docket No. 121 at 7 (citing R&R at 60).

          In its objections, Cisco incorrectly describes the R&R as concluding a “plaintiff need not

   allege harm to competition in the relevant market,” arguing the R&R ignores that Kodak does not

   excuse the failure of a plaintiff to allege an effect on competition in the tied product’s market.

   Docket No. 119 at 4. Instead, the R&R states as follows: “[a]s explained below, Cisco has failed

   to show Dexon fails to allege the requisite level of foreclosure to survive a motion to dismiss.”

   R&R at 61.

          The R&R points out Dexon’s allegations of four new examples of “foreclosure.” Id. at

   61–62. The R&R then explains why the Fifth Circuit’s decision Roy B. Taylor Sales, Inc. v.

   Hollymatic Corp., 28 F.3d 1379 (5th Cir. 1994), cert. denied, 513 U.S. 1103 (1995), a case relied

   upon by Cisco, is procedurally different from Cisco’s motion to dismiss and also “tends to support

   Dexon’s argument that the law does not require plaintiffs to plead the same level of foreclosure in




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   tying claims.” Id. at 62; see also id. at 64 (“The claim in Roy B. Taylor Sales was not a Kodak

   ‘lock-in’ theory of tying liability which would result in an ultimate foreclosure of choice to the

   ultimate consumer. Rather, the case involved ‘an exclusive dealing line-forcing arrangement’

   where a manufacturer was forcing the dealer to buy its full line to the exclusion of other

   competitors.”). The Magistrate Judge concluded as follows:

          In this case, Dexon alleges a Kodak “lock-in” theory of per se tying liability. As
          noted by the Fifth Circuit in Roy B. Taylor Sales, the common ground to those types
          of tying arrangements is “consumers have to buy one product or service to receive
          another, removing them from the market for the tied good.” Id. at 1383 (citing
          Kodak, 504 U.S. 451). As noted by the Fifth Circuit, a per se condemnation requires
          proof that the tying arrangement involved “the use of market power to force
          [consumers] to buy [goods] they would not otherwise purchase.” Breaux Bros.
          Farms v. Teche Sugar Co., 21 F.3d 83, 86 (5th Cir. 1994) . . . . Likewise, here,
          Dexon has sufficiently alleged a tying arrangement involving the use of market
          power to force consumers to buy goods they would not otherwise purchase.

   Id. at 65 (internal footnote omitted).

          Although disagreeing with Cisco that “substantial” market foreclosure of competitors’

   sales is necessary for a Kodak “lock-in” theory of per se tying liability, the Magistrate Judge held

   Dexon has sufficiently alleged foreclosure of Cisco’s competitors to survive a motion to dismiss.

   Id. Specifically, the Magistrate Judge concluded as follows:

          Dexon has alleged that when customers are forced to purchase products they do not
          want or need, or are forced to purchase them on coerced terms, it inevitably leads
          to foreclosure of Cisco’s equipment competitors because customers’ limited IT
          budgets have already been spent, precluding consideration of competitive
          alternatives. Dkt. No. 24 at 23 (citing Dkt. No. 1, ¶¶ 4–5, 51). According to Dexon,
          “if Cisco did not withhold service and thus engage in tying, customers would be
          free to purchase alternative equipment from competitive vendors at a lower price,
          as was critical to them in the first place when they bought the equipment and
          service.” Id. (citing Dkt. No. 1, ¶¶ 7, 13, 46, 50–51, 82). Dexon alleges Cisco
          subsequently takes advantage of locked-in customers because of Cisco’s virtual
          monopoly in service, forcing the customers to spend more of their limited budget
          to eliminate competitive alternatives in the process. Id. (citing Dkt. No. 1, ¶¶ 4–5,
          26, 51, 103, 125).

   Id. at 65–66.



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          Upon de novo review, the Court agrees with the Magistrate Judge that Dexon sufficiently

   alleges per se tying under § 1 that results in competitive foreclosure due to unwanted and forced

   purchases from an alleged monopolist. The Court also finds Dexon has sufficiently alleged that

   Cisco engages in anticompetitive or exclusionary conduct for purposes of its monopolization and

   attempted monopolization claims under § 2. Accordingly, Cisco’s objections to Dexon’s per se

   tying and monopolization/attempted monopolization claims are OVERRULED.

                                           CONCLUSION

          For the reasons set forth above, the Court does not find clearly erroneous or contrary to law

   the Magistrate Judge’s December 22, 2022 Order (Docket No. 94) denying Defendant Cisco

   Systems, Inc.’s Motion to Transfer (Docket No. 21). Accordingly, it is

          ORDERED that Defendants Cisco Systems, Inc. and CDW Corporation’s Objection to the

   Order Denying Cisco’s Motion to Transfer (Docket No. 96) is OVERRULED.

          For the reasons set forth above, the Court is of the opinion the findings and conclusions of

   the Magistrate Judge’s Report and Recommendation (Docket No. 107) are correct, and the

   Defendants’ Objections (Docket Nos. 119, 120) are without merit as to the ultimate findings of the

   Magistrate Judge. Accordingly, it is

          ORDERED that the Report and Recommendation of the United States Magistrate Judge

   (Docket No. 107) is ADOPTED as the opinion of the District Court. It is further

          ORDERED that Defendant Cisco’s Objections to the Report and Recommendation

   (Docket No. 119) and Defendant CDW’s Objections to the Report and Recommendation (Docket

   No. 120) are OVERRULED. It is further




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          ORDERED that Defendant Cisco’s Motion to Dismiss (Docket No. 22) is DENIED, with

   the part of the motion seeking dismissal under true res judicata being DENIED WITHOUT

   PREJUDICE. It is further

          ORDERED that Defendant CDW Corporation’s Motion to Dismiss (Docket No. 28) is

   DENIED,
      .    with the parts of the motion seeking dismissal for failure to plead with sufficient

   specificity CDW’s specific intent to monopolize and dismissal of Dexon’s pre-2018 claims as

   time-barred being DENIED WITHOUT PREJUDICE. It is further

          ORDERED that within thirty (30) days from the date of entry of this Order, Dexon shall

   replead with specificity its Sherman Act § 2 conspiracy to monopolize claim against CDW,

   specifically addressing the issues raised in the R&R regarding CDW’s specific intent to

   monopolize.


          So ORDERED and SIGNED this 31st day of March, 2023.




                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE




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